Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 1 of 78 Page
                                 ID #:5342




                  EXHIBIT A
Case 2:21-cv-01102-DSF-MRW    Document 237-1       Filed 03/08/24   Page 2 of 78 Page
                                  ID #:5343

                                                                                   1


  1                     UNITED STATES DISTRICT COURT

  2                    CENTRAL DISTRICT OF CALIFORNIA

  3                             WESTERN DIVISION

  4           THE HONORABLE DALE S. FISCHER, JUDGE PRESIDING

  5

  6   JEFFREY B. SEDLIK,                   )
                                           )
  7                       Plaintiff,       )
                                           )
  8                                        )
                v.                         )               No. CV 21-1102-DSF-MRW
  9                                        )
      KATHERINE VON DRACHENBERG aka KAT    )
 10   VON D; KAT VON D, INC.; and HIGH     )
      VOLTAGE TATTOO, INC.,                )
 11                                        )
                          Defendants.      )
 12   _____________________________________)

 13

 14

 15                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

 16

 17                          Los Angeles, California

 18                 Tuesday, January 23, 2024, 8:30 A.M.

 19         Day 1 of Jury Trial, Page 1 through 246, Inclusive

 20

 21                                            PAT CUNEO CSR 1600, CRR-CM
                                               Official Reporter
 22                                            First Street Courthouse
                                               Room 4311
 23                                            350 West 1st Street
                                               Los Angeles, California 90012
 24                                            213-894-1782
                                               patcuneo1600@gmail.com
 25                                            www.patcuneo.com

                                Day   1   of    Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1      Filed 03/08/24    Page 3 of 78 Page
                                 ID #:5344

                                                                                 213


  1               It has to be a magazine cover so it can't, you

  2   know, be a really pulled back wide shot.                It had to be in

  3   tight on him and say something about the person.                   And I came

  4   up with that and a few other ideas that we have an exhibit

  5   on, I believe.

  6   Q.    Are there any subtle symbolic references in the work.

  7   I think you were just describing the fingers but --

  8   A.    Well, it would help me to refresh my memory, not that I

  9   don't know my work but if you can let me look at my work

 10   while we're talking.

 11   Q.    Absolutely.

 12              (The exhibit was displayed on the screen.)

 13   A.    I'll start answering.        So part of this was the aspect

 14   of, you know, of course this shush gesture that he was

 15   making.    I actually went in and placed his fingers exactly

 16   in that arc.    I walked up to him, asked him if I could.                   We

 17   had a little bit of a relationship going on.                And I placed

 18   his fingers in an arc to represent a musical notation.

 19               I carefully had him position his finger and so I

 20   was building subliminal things in like that arc of the

 21   fingers.    Nobody will ever know, except the people in this

 22   room, that I arranged Miles' fingers and I don't think

 23   anybody ever did that to him before or ever did it afterward

 24   but he really liked this idea.           He let me do that.          There's

 25   that.

                               Day   1   of   Jury   Trial,    January    23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1      Filed 03/08/24    Page 4 of 78 Page
                                 ID #:5345

                                                                                214


  1               You do get an iconic feeling from the work and a

  2   sense of moodiness and melancholy.             It's kind of a dark

  3   portrait with shadows on him.           I, you know, I picked out the

  4   wardrobe to keep it very dark in the image and, you know, it

  5   says a lot of those things that I just mentioned, you know.

  6   It just feels like his music to me.             It feels like him.

  7               He was a very gracious person.              A lot of people

  8   were intimidated by him but he was a really wonderful,

  9   gracious person.

 10   Q.    Did you intend to create a sculptural quality in the

 11   image?

 12   A.    I did.   My lighting method is to sculp people out of

 13   darkness.    Sometimes that involves a very bright image in

 14   the end and something I sculp them out of the background and

 15   there's a lot of creative expression that goes into

 16   achieving that.

 17   Q.    Were there other intended purposes in creating this

 18   photograph other than what you've just described?

 19   A.    Well, I knew that I was going to license it and, of

 20   course, that's the way I make my living; and so every time I

 21   create an image, of course making the art is at the top

 22   of -- like expressing myself is at the top of my list.

 23               But then again, I can't afford to go do something

 24   for, you know, in this case for no fee just on a barter

 25   basis and to pay a portion of the expenses myself, or all

                               Day   1   of   Jury   Trial,    January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1      Filed 03/08/24   Page 5 of 78 Page
                                 ID #:5346

                                                                               217


  1   mark out with tape on the ground where we were going to put

  2   this thing and build it and have Miles step in.

  3   Q.    What happened on the morning of the shoot day?

  4   A.    I met my crew, which was four or five, maybe six

  5   assistants, I'm not sure, because we had to work fast at my

  6   studio.

  7               And the day before the shoot, we had gone and

  8   picked up rental equipment and packed that rental studio

  9   into the back of a big truck, like a 21 foot what they call

 10   a high-cube truck along with a generator and backup

 11   generator, all kinds of lighting equipment and stands and

 12   camera equipment in case -- I mean, what if the clouds came

 13   over and I didn't haven't sun to come into my little studio

 14   that I was building.     Just contingency things.

 15               So we packed the truck full of all that the night

 16   before.   So that we met in the morning, got some coffee, got

 17   in the truck, and my assistants got in their cars and makeup

 18   artists and everybody and we caravaned from downtown L.A.

 19   over to Miles' house in Malibu.

 20   Q.    Did you meet with Miles before the shoot?

 21   A.    I did.   He let me in and we sat on his couch and talked

 22   about music and photography and boxing and what the plans

 23   were for the day and went over the sketches, decided what

 24   order we were going to shoot them in.             And then I asked him

 25   if we could go up to his closet so I could go through and

                               Day   1   of   Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1      Filed 03/08/24   Page 6 of 78 Page
                                 ID #:5347

                                                                               218


  1   pick the wardrobe that he would wear for the various

  2   photographs because this was not the only setup that we were

  3   going to do that day.     So I picked out this wardrobe and

  4   some jewelry for him.

  5   Q.    What about makeup and hairstyling?

  6   A.    Once I had the wardrobe picked out, then I brought him

  7   over to the -- I guess you would call it a groomer or makeup

  8   and hairstylist.

  9               And then I had a discussion with that person about

 10   how to do the makeup so that it would work for photography.

 11   I wanted to use the reflectance on darker skin.               You can

 12   apply oil I found.     Looks like almost a baby oil but it's a

 13   particular brand and you get a wonderful reflectance in the

 14   skin.

 15               It's different than lighting lighter shades of

 16   skin.   And so I talked to her about doing that.              I had asked

 17   her to bring the product and I told her about:               Don't overdo

 18   it, don't underdo it, don't put it here, don't put it there.

 19               Like I didn't want it on his hand because I wanted

 20   every to die off after his face in terms of the lighting.

 21   So I had her rub this oil into his skin and so once I had

 22   her going with the makeup and hair -- he was very particular

 23   about his hair -- then I went outside and my crew had

 24   already built out the studio following my drawing for how

 25   the studio would be erected in order to get the light just

                               Day   1   of   Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1      Filed 03/08/24   Page 7 of 78 Page
                                 ID #:5348

                                                                               219


  1   right for me.

  2   Q.    How big was the structure?

  3   A.    20X20 feet.

  4   Q.    And did it have -- what did it have as a roof?

  5   A.    So we had what's called speed rail which is kind of an

  6   aluminum piping, and we made a frame, a 20X20 square out of

  7   this aluminum piping, and that was the top of this studio.

  8               And then we stretched a white fabric similar to a

  9   sail cloth that lets the light through it across the whole

 10   top of that structure.      And we draped a 20X20 black fabric

 11   called duvetyne off the sides and off the back of it so the

 12   light wasn't coming in from the sides or the back.

 13               And then where the camera would go on the open

 14   side, because I covered three sides in black and the top, I

 15   put white 4X8 sheets of what's called foamcore.               It's this

 16   white cardboard-like material behind where the camera would

 17   go to reflect the light in from the front but the main light

 18   was coming in from the top and it's the lighting I had

 19   worked out in the test.

 20               I took a 20X20 sheet of that sail cloth and tied

 21   it to those rails, and then I took a 20X20 black fabric and

 22   placed it over the white fabric so now there's no light

 23   coming in, and then I had cut a hole during the test, a

 24   small like a 2X2 hole in that black fabric so that as the

 25   sun came down at noonday, it would turn into the most

                               Day   1   of   Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1      Filed 03/08/24   Page 8 of 78 Page
                                 ID #:5349

                                                                                220


  1   beautiful light you've ever seen and come down in like a

  2   shaft of light.    It's kind of a hard light and a soft light

  3   at the same time drawing out the texture of his skin,

  4   et cetera, and really bringing the portrait to life directly

  5   overhead.

  6               And the lighting was very different if you had

  7   this ceiling like one foot away from his head or eight feet

  8   away from his head.     But we had worked that out including an

  9   angle of that thing to really get his face to light up.

 10               I think we placed -- we did -- we placed this

 11   square at a diagonal to him, and so then I had an assistant

 12   stand in by sitting in a stool and we made sure the lighting

 13   was good on that assistant.

 14               And I fine-tuned the light.           I put black panels on

 15   the left and right, big black panels.             They're like --

 16   they're called flags and it's not like the United States

 17   flag.   It's just black fabric on frames on either side of

 18   him to soak up the light at the sides and reflect black into

 19   that oil that's in his skin on the sides.

 20               And then Miles came out.

 21   Q.    And what happened once he arrived?

 22   A.    Well, all of my assistants were in awe; right?                And

 23   then -- first time getting to meet Miles Davis.               He was very

 24   gracious and he handed out his new CDs of his new release at

 25   the time and then sat on the stool that we had there for him

                               Day   1   of   Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1      Filed 03/08/24   Page 9 of 78 Page
                                 ID #:5350

                                                                               221


  1   inside this outdoor studio.

  2               And I went in and had him turn just so and then

  3   turn his waist just so, then turn his shoulders to get

  4   torsion and then I modeled the -- his jacket.               I placed his

  5   collar where his collar is there, and then I made some

  6   ridges in that jacket so that they would catch some of the

  7   light so it wouldn't just go absolutely black and had his --

  8   tilt his head just so.

  9               And then in order to get this kind of intensity in

 10   the portrait, the first thing I did was measure the distance

 11   between the ground and his pupils with a tape measure and

 12   then go over to where my camera was and measured the

 13   distance between the ground and the center of my lens so

 14   that they would both be on the exact time height at his eye

 15   height and he's looking right at me, not up, not down, but

 16   right at me and it's extremely direct.

 17               And then I, you know, I chose a lens that would

 18   flatten his shape.     You know, if you use a wide-angle lens,

 19   you get a big nose and small ears and all kinds of things

 20   like that.

 21               But if you use a longer lens, it flattens the

 22   shape of it which I didn't want to flatten him completely

 23   but I wanted to compress his shape which does come through

 24   in this portrait.

 25               I also wanted highlights in his eyes.             So that's

                               Day   1   of   Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1       Filed 03/08/24   Page 10 of 78 Page
                                  ID #:5351

                                                                                 222


   1   why I put those white cards behind the camera so the sun

   2   would hit the white cards and then reflect off them, come

   3   through and reflect into his eyes.

   4              And so, you know, if you look really close up at

   5   his eyes, you can see -- you can actually see me in his eyes

   6   or reflection of me with my tripod.              But it added these

   7   little white dots in his eyes that gives it a little spark.

   8              And then I began working with him.               I adjusted a

   9   few curls of hair so I could expose one of his ears because

 10    it was just black on that side.            I had to turn his head

 11    slightly so I wasn't looking at two ears.

 12               And then for each exposure, I had him tense up so

 13    I could get like that furrow of the brow, those little lines

 14    right over his nose.     Only comes out when he kind of like

 15    gets -- when he tenses up.

 16               So I had him hold his hand down, you know, and

 17    bring it up and then we let his finger just right.                  I mean,

 18    I had to have the fingernail in the right place for me like

 19    based on my sketch.     I'm pretty particular.

 20               And then I would have him tense up and his veins

 21    would pop and his furrowed brow would happen and his eyes

 22    would be kind of intense.          Like a lot of people would be

 23    intimidated.   And then make the photo and then move to the

 24    next photo.

 25    Q.    So after you finished your photo session with

                                Day   1    of   Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1       Filed 03/08/24   Page 11 of 78 Page
                                  ID #:5352

                                                                                 246


   1              THE COURT:    Thank you.

   2              (At 4:44 p.m., the trial was adjourned.)

   3

   4                                      -oOo-

   5

   6                                  CERTIFICATE

   7

   8              I, PAT CUNEO, CSR 1600, hereby certify that

   9   pursuant to Section 753, Title 28, United States Code, the

 10    foregoing is a true and correct transcript of the

 11    stenographically reported proceedings held in the

 12    above-entitled matter and that the transcript page format is

 13    in conformance with the regulations of the Judicial

 14    Conference of the United States.

 15
       Date:   February 9, 2024
 16

 17

 18

 19

 20                                            /s/__________________________

 21                                            PAT CUNEO, OFFICIAL REPORTER
                                               CSR NO. 1600
 22

 23

 24

 25

                                Day   1   of    Jury   Trial,   January   23,   2024
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 12 of 78 Page
                                  ID #:5353




                  EXHIBIT B
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 13 of 78 Page
                                  ID #:5354

                                                                        


                       70+6'&56#6'5&+564+%6%1746

                      %'064#.&+564+%61(%#.+(140+#

                              9'56'40&+8+5+10

             6*'*1014#$.'&#.'5(+5%*'4,7&)'24'5+&+0)

                                       

     ,'((4';$5'&.+-
                                             
                   2NCKPVKHH 
        
      
       X                 0Q%8&5(/49
      
       -#6*'4+0'810&4#%*'0$'4)CMC-#6 
     810&-#6810&+0%CPF*+)* 
       81.6#)'6#6611+0% 
      
        &GHGPFCPVU 
     AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA 
       
     

     

                  4'2146'4 564#05%4+261(241%''&+0)5
                                      
                                    

                           .QU#PIGNGU%CNKHQTPKC

                 9GFPGUFC[,CPWCT[#/
       
         &C[QH,WT[6TKCN2CIGVJTQWIJ+PENWUKXG

     
       
            2#6%70'1%54%44%/
       1HHKEKCN4GRQTVGT
     (KTUV5VTGGV%QWTVJQWUG
       4QQO
     9GUVUV5VTGGV
       .QU#PIGNGU%CNKHQTPKC
     
       RCVEWPGQ"IOCKNEQO
     YYYRCVEWPGQEQO
       
           &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 14 of 78 Page
                                  ID #:5355

                                                                        


     3    +U/U8QP& UTGPFGTKPIQH[QWTFGRKEVKQPQH

     /T&CXKU UOKNGNKPGUUKOKNCT!

     #    #TG[QWTGHGTTKPIVQVJGNCDKCNHQNFUCVVJGUKFGQH

     JKUHCEG!

     3    ;QWMPQY+JCFVQNQQMVJCVYQTFWRDWV[GU

     #    ;GU6JQUGCTGVJGNKPGUVJCVEQOGQHHVJGEQTPGTQH

     VJGETGCUGQHJKUPQUGCPFFQYPFKCIQPCNN[VQYCTFVJG

     QWVUKFGQHVJGEQTPGTQHJKUOQWVJCTGFWRNKECVGF

     3    +U/U8QP& UTGPFGTKPIQH[QWTFGRKEVKQPQHVJGGCT

     QPVJGNGHVUKFGQHVJGRQTVTCKVUKOKNCT!

     #    ;GU6JGGCTYCUEQXGTGFYKVJJCKTYJGP+DGICPOCMKPI

     VJGRJQVQITCRJU+YCNMGFKPCPFWRVQ/T&CXKUTGSWGUVGF

     JKURGTOKUUKQPVQOQXGJKUJCKTCYC[HTQOJKUGCTUQVJCV+

     EQWNFJCXGUQOGXKUWCNKPVGTGUVVJGTGCPFKV UFWRNKECVGF

     KPVJGVCVVQQ

     3    +U/U8QP& UQOKUUKQPQHVJGGCTQPVJGQVJGTUKFGQH

     VJGRQTVTCKVUKOKNCT!

     #    ;GU+VWTPGFJKUHCEGVQQPGUKFG+FKFP VYCPVVQ

     JCXGVYQGCTUKPO[RJQVQITCRJCPFHGNVVJCVVJKUYCUVJG

     DGUVRTGUGPVCVKQP

     3    +U/U8QP& UTGPFGTKPIQH[QWTFGRKEVKQPQHVJGNKRU

     UKOKNCT!

     #    ;GU6JGNKRUCTGKPCEGTVCKPUJCRGVJCVQEEWTUYJGP

     [QWVGPUG[QWTHCEGCPFRWTUG[QWTNKRUCPF+JCFJKOFQ

     VJCVCVVJGOQOGPVVJCV+ECRVWTGFVJGRJQVQITCRJ

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 15 of 78 Page
                                  ID #:5356

                                                                        


     $;/4#..'0

     3    5Q[QWJCFOGPVKQPGFUQOGQHVJGYC[UVJCVVJG

     /KNGU&CXKURJQVQITCRJCPF[QWTNKEGPUKPIQHVJCVKUFCOCIGF

     D[WPNKEGPUGFWUG9JCVURGEKHKEGNGOGPVUQHNQUUKUVJGTG

     YJGPDGECWUG/U8QP&WUGF[QWTYQTMYKVJQWVCNKEGPUG!

                /4)41&5-;1DLGEVKQPTGNGXCPEG

                6*'%17469GNN+FQP VWPFGTUVCPFGZCEVN[YJCV

     [QWOGCPUQYJ[FQP V[QWVT[VQTGHTCOGKV!

     $;/4#..'0

     3    9JCVFKF[QWNQUGCUCTGUWNVQH/U8QP&WUKPI[QWT

     YQTMYKVJQWVCNKEGPUG!

                /4)41&5-;4GNGXCPEG

                /4#..'0+VIQGUVQFCOCIGU+VIQGUVQ

                6*'%17469GNN[QWPGGFVQPCTTQYKVVJGP

     $;/4#..'0

     3    /T5GFNKMFKF[QWNQUGNKEGPUGHGGUCUCTGUWNVQH

     /U8QP&WUKPI[QWTYQTMYKVJQWVCNKEGPUG!

     #    ;GU+HKTUVNQUVNKEGPUGHGGUD[PQVJCXKPIVJG
             ;GU +HKTUVNQUVNKEGPUGHGGUD[PQVJCXKPIVJG

     QRRQTVWPKV[VQTGEGKXGCNKEGPUGHGGHTQO/U8QP&CVVJG

     VKOGQTDGHQTGUJGOCFGVJGCFCRVCVKQP
       VKOGQTDGHQTGUJGOCFGVJGCFCRVCVKQP

                6JGP+NQUVNKEGPUGHGGUYJGPUJGWUGFCEQR[QH

     O[YQTMVJGQTKIKPCNRJQVQITCRJKPUQEKCNOGFKCRQUVU

     FKUVTKDWVGFVQOCP[OKNNKQPUQHHQNNQYGTU

                6JGP+NQUVNKEGPUGHGGUYJGPUJGFKUVTKDWVGF

     FGRKEVKQPUQHVJGVCVVQQYJKEJYQWNFPQTOCNN[VJQUGV[RGU

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW     Document 237-1   Filed 03/08/24   Page 16 of 78 Page
                                    ID #:5357

                                                                          


     3     1MC[9GNNVJGQPN[QVJGTSWGUVKQP+JCXG
              1MC[ 9GNNVJGQPN[QVJGTSWGUVKQP+JCXG

     /T(CTOGTKU+ FNKMG[QWVQUJQYVJGVCVVQQVQVJGLWT[

     9JKEJCTOKUKV!

     #     6JGTKIJVCTO

     3     6JGTKIJVCTO5Q+FQP
              6JGTKIJVCTO 5Q+FQP VMPQYJQY[QW NNJCXGVQVWTP

     VQFQVJKUDWVKH[QWEQWNFYQWNF[QWOKPF;QWT*QPQT

     KHJGUVCPFUWR!

                 6*'%1746+FQP
                   6*'%1746 +FQP VMPQY;GCJ9J[FQP
                                     VMPQY ;GCJ 9J[FQP V[QW

     UVCPFWR#PF+FQP
       UVCPFWR #PF+FQP VMPQYJQYYGNNCP[QHVJGOYKNNDG

     CDNGVQUGGKVWPNGUUJGIGVUFQYPCPFYCNMU

                 /4)41&5-;+UVJCVCNNTKIJVKHYGFQVJCV!
                   /4)41&5-; +UVJCVCNNTKIJVKHYGFQVJCV!

                 6*'%1746;GU
                   6*'%1746 ;GU

                 9J[FQP V[QWLWUVYCNMFQYPKPHTQPVQHVJGLWT[

     DQZ!

                               9KVPGUUEQORNKGU

                 6*'%1746#P[DQF[YCPVCENQUGTNQQM[QWECP
                   6*'%1746 #P[DQF[YCPVCENQUGTNQQM[QWECP

     UVGRFQYPCPFNQQM

                                 TGIQQF1MC[6JCPM[QW
                   .QQMUNKMGVJG[ TGIQQF 1MC[ 6JCPM[QW

                 /4)41&5-;6JCVKUCNNVJGSWGUVKQPU+JCXG

                 6*'%1746%TQUUGZCOKPCVKQP!

                               CROSS-EXAMINATION

     $;/4.+0)'4

     3     )QQFOQTPKPI/T(CTOGT

     #     )QQFOQTPKPI

     3     ;QWYGTGPQVUWGFD[/T5GFNKMEQTTGEV!

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 17 of 78 Page
                                  ID #:5358

                                                                        


     #    %QTTGEV

     3    9QWNF[QWDTKPIWR'ZJKDKV

                6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

                6*'%1746*QYOWEJOQTGFQ[QWJCXG/T.KPIGT!

     ,WUVDGECWUGKV UCDQWVVKOGHQTCDTGCM

                /4.+0)'42TQDCDN[HKXGOKPWVGU

                6*'%1746#NNTKIJV9J[FQP VYGLWUVIQCJGCF

     CPFVCMGQWTDTGCM

                .CFKGUCPFIGPVNGOGPFQP VVCNMCDQWVVJGECUGQT

     HQTOQTGZRTGUUCP[QRKPKQPUCDQWVVJGECUGWPVKNKV U

     HKPCNN[UWDOKVVGFVQ[QW9G NNVCMGCOKPWVGDTGCM

                6*'%.'4-#NNTKUG

                   (The jurors exited the courtroom.)

          (The following was held outside the jury's presence:)

                6*'%1746;QWECPUVGRFQYPUKT

                /C[+UGGVJGVCVVQQ!

                             9KVPGUUEQORNKGU

                6*'%1746#P[VJKPIYGPGGFVQFKUEWUU!

                /4)41&5-;;GUCEVWCNN[

                6*'%1746 6QVJG.CY%NGTM 6CMGCNQQMCV

     VJGVCVVQQ

                /4)41&5-;6JGQPN[VJKPI+YCPVGFVQOGPVKQP

     KUVJCV

                6*'%1746)QCJGCF/T(CTOGT#PF+ OIQKPI

     VQCUMO[NCYENGTMVQVCMGCNQQMCVVJGVCVVQQCUYGNN

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 18 of 78 Page
                                  ID #:5359

                                                                        


     MPQY+IWGUUVJCVYQWNFDGQPGQHVJGQPN[QPGUVJCV+

     YQWNFJCXGFQPGYKVJQWVCPKOCIG

                       (End of reading deposition.)

     3    &Q[QWTGECNNUC[KPIVJCV!

     #    7OOPQVTGCNN[

     3    &Q[QWTGOGODGTDGKPIFGRQUGFQP,CPWCT[!

     #    +FQ

     3    #PFFQ[QWTGOGODGTVCMKPICPQCVJVJCV[QWYGTGIQKPI

     VQVGNNVJGVTWVJ!

     #    +FQ

     3    #PF

     #    +CNUQVJKPM+YQTFGFKVCNKVVNGDKVNKMG+FQP V

     MPQY+FQP VVJKPM+YCUVT[KPIVQUC[GZCEVN[VJCV

     5QTT[KH+YCUDGKPICNKVVNGDKVVQQRCKPVGTN[YKVJO[

     YQTFU$WVVQCPUYGT[QWTSWGUVKQP[GU+ XGCNYC[UWUGFC

     TGHGTGPEGHQTRQTVTCKVVCVVQQU

     3    #PFKPVGTOUQHRQTVTCKVU[QWTIQCNNGVOGDCEMWR

                9JGP[QWTGEGKXGCRJQVQITCRJCUCTGHGTGPEG[QW

     FQP VNKMGOCMKPIEJCPIGUVQVJGRJQVQITCRJYJGP[QWOCMG

     VJGVCVVQQFQ[QW!

     #    6JCV UPQVCEEWTCVGCVCNN+CEVWCNN[CNYC[UOCMG

     CFLWUVOGPVUCPFEJCPIGUQPGXGT[VCVVQQ+ XGFQPGCUHCTCU

     RQTVTCKVUIQ

     3    #PFKPVGTOUQHRQTVTCKVU[QWTIQCNKUVQOCMGVJG

     RQTVTCKVVQNQQMCUCEEWTCVGVQVJGRGTUQPKPVJGRJQVQCU

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 19 of 78 Page
                                  ID #:5360

                                                                        


     RQUUKDNGKUP VVJCVTKIJV!

     #    +VT[VQECRVWTGVJGUGPVKOGPVQHVJGRGQRNGVJCV+ O

     VCVVQQKPI

     3    + OPQVCUMKPICDQWVVJGUGPVKOGPV+
               OPQVCUMKPICDQWVVJGUGPVKOGPV + OCUMKPI[QW

     CDQWVKH[QW TGVT[KPIVQOCMGVJGRQTVTCKVNQQMCUCEEWTCVG

     VQVJGRGTUQPCURQUUKDNGKPVJGRJQVQ!

     #    5WTG[GU

     3    #PFIQQFRJQVQITCRJUOCMGITGCVVCVVQQUFQP VVJG[!

     #    6JG[FQ$CFQPGUFQCUYGNNVJQWIJ5QOGQHVJGO

     + XGFQPGDNWTT[RJQVQUVJCVJCXGEQOGQWVDGCWVKHWN

     3    #PF[QW XGYQTMGFKPVCVVQQUJQRUVJCVJCFHNCUJDQQMU

     JCXGP V[QW!

     #    +PO[[QWPIGT[GCTU

     3    #PFCHNCUJDQQMKUCEQNNGEVKQPQHVCVVQQUFGUKIPU

     D[CPCTVKUVVJCVVJGCTVKUVOCMGUCXCKNCDNGHQTQVJGTUVQ

     WUGCUCTGHGTGPEG!

     #    5Q+ OLWUVIQKPIVQEQTTGEVO[UGNHDGECWUG+JCXG

     YQTMGFKPUJQRUVJCVJCXGJCFHNCUJCPF+VJKPMNKMGVJG

     GZCORNGVJCV[QWDTQWIJVWRVJGQVJGTFC[CUCHNCUJDQQM

     VJCV UPQVXGT[EQOOQPKPVCVVQQUJQRU

                5QNKMGKH[QWFQIQVQCVCVVQQUJQRVJCV U

     EQPUKFGTGFCUVTGGVUJQR[QW NNUGGYCNNUYKVJVJGUG

     VJG[ TGMKPFQHNKMGRCPGNUQHUJGGVUCPFVJG[JCXGNKMG

     VCVVQQFGUKIPUVJCVRGQRNGECPUGNGEVKOCIGUHTQOQTIGV

     KPURKTCVKQPHTQOQTYJCVGXGT6JQUGCTGV[RKECNN[QJ

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW    Document 237-1   Filed 03/08/24   Page 20 of 78 Page
                                   ID #:5361

                                                                         


     3    1MC[9GNNNGV UIQVQYJCVKUKV!!

                6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

     3    #PF+YCPV[QWVQIQVQVJGCPF[QWPGXGTRTQXKFGF

     /T5GFNKMCEQR[QHVJGFKIKVCNVGZVEJCKPFKF[QW!

     #    + OPQVUWTG;QWEQWNFCUMO[NCY[GTU+IWGUU

     3    5QJGTGKUVJGVJWODPCKNCPFKV UXGT[UOCNNCPF[QW

     ECP VTGCNN[UGGKHVJGTGYQWNFDGCYCVGTOCTMVJGTGDGECWUG

     KV UUQUOCNN$WVCTG/T&CXKU UJQWNFGTUCTGKPVJKU

     KOCIGCTGP VVJG[!

     #    +VCRRGCTUUQ

     3    1MC[5QNGVIQDCEMVQEQORCTKUQP

                6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

     3    5QVJKUKOCIGCVVCEJGFVQ[QWTNCORECP VDGVJG

     QTKIKPCNRJQVQECPKV!

     #    +VFQGUP VNQQMNKMGKVDWV+ OPQVVJGQPGYJQRTKPVGF

     KVUQYG FJCXGVQHKIWTGQWVYJQVJCVRGTUQPYCU

     3    5Q[QWCITGGYKVJOGVJCVKVJCUDGGPETQRRGFQPVJG
             5Q[QWCITGGYKVJOGVJCVKVJCUDGGPETQRRGFQP VJG

     TKIJVCPFVJGNGHVKUVJCVTKIJV!
       TKIJVCPFVJGNGHVKUVJCVTKIJV!

     #    +VNQQMUNKMGKV

     3    #PF[QWCNUQCITGGYKVJOGVJCVKVJCUDGGPETQRRGFQP

     VJGDQVVQO!

     #    +VCRRGCTUUQ

     3    #PFUQKH[QWQT[QWTUJQROCPCIGTETQRRGFVJGRJQVQ

     KVYQWNFJCXGEWVQWVVJGYCVGTOCTMYQWNFP VKV!

     #    +IWGUUUQ+OGCP+FQP VMPQY

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 21 of 78 Page
                                  ID #:5362

                                                                        


     3    5QVJGSWGUVKQPYCU

     #    1J

     3    ;QWTKPVGTRTGVCVKQPFQGUP VUVCTVWPVKNCHVGTVJG

     UVGPEKNKUCRRNKGFVQ/T(CTOGTCPF[QWUCKF[GU

     #    ;GCJVJCV UYJCV+UCKFKPO[FGRQUKVKQPEQTTGEV!

     3    ;GU

     #    ;GCJ1MC[5QTT[+VJKPM+OKUWPFGTUVQQF

     3    #PFYJKNG[QWYGTGFQKPI[QWTUJCFKPICICKPCUVJKU

     RJQVQKPFKECVGUVJGRJQVQITCRJQH/T5GFNKMKUTKIJVPGZV

     VQ[QWEQTTGEV!

     #    ;GU

     3    #PF[QWFKFP VCFFCP[PGYEQORQUKVKQPVQVJGVCVVQQ

     VJCVYCUP VKPVJGRJQVQCNTGCF[FKF[QW!

     #    1JPQ+FKF6JGTG
             1JPQ+FKF 6JGTG UFGHKPKVGN[O[EQORQUKVKQPVJCV

     [QWECPUGGQP$NCMG UVCVVQQNKMG+FKFCDWPEJQHVGZVWTG

     CPFOQXGOGPVCTQWPFKVVJCVKUPQVKPENWFGFKPVJGQTKIKPCN

     RJQVQ
       RJQVQ

                  #PFVJCVYCUVJCV UNKMGVJGUGVWRHQTVJGTGUV

     QHVJGUNGGXGCPFYJCVKVYCUIQKPIVQDGNKMGCPF+YCU

     CEVWCNN[VT[KPIVQDTKPIKPHTQOVJGCNDWOCTVYQTMKH[QW

     NQQMGFCVKVVQDTKPIUQOGQHVJCVOQXGOGPVKPVJCVYCUP V

     KPVJGVCVVQQUQ[GCJ

     3    $QVJYGTGQH/KNGU&CXKUTKIJV!

     #    2CTFQP!

     3    $QVJVJGRJQVQCPFVJGVCVVQQCTGQH/KNGU&CXKU

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 22 of 78 Page
                                  ID #:5363

                                                                        


     #    ;GU

     3    &QKPI[QWTUJCFKPI[QWENCKOVQJCXGETGCVGFUJCFQYU

     CPFJKIJNKIJVUEQTTGEV!

     #    ;GCJ+FKFO[QYPKPVGTRTGVCVKQPQHVJGNKIJVKPI

     +V UPQV+V UPQV+ OPQVCEQR[OCEJKPG+ECP
                                 OPQVCEQR[OCEJKPG +ECP V

     RJ[UKECNN[ECP VOCMGUQOGVJKPIGZCEVN[VJGUCOGCUCRJQVQ

     3    #PFVJGVCVVQQUJCFQYUCPFJKIJNKIJVUOCVEJVJGUJCFQYU

     CPFJKIJNKIJVUQHVJGRJQVQFQP VVJG[!

     #    #NQVQHVJGO[GCJ+YQWNFP VUC[CNNQHVJGO

     VJQWIJ

                   2NCKPVKHH UEQWPUGNEQPHGTTGF

     3    5QTT[.QVQHPWODGTUVQMGGRVTCEMQH

                  6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

     3    1MC[5QUJCFQYUGZKUVYJGPCPQDLGEVDNQEMUVJG

     RCVJYC[QHNKIJVKUP VVJCVTKIJV!

     #    %CP[QWTGRGCVVJCV!

     3    5JCFQYUGZKUV

     #    7JJWJ

     3    YJGPCPQDLGEVDNQEMUVJGRCVJYC[QHNKIJV!

     #    1MC[[GCJ

     3    ;QWCITGGYKVJVJCV!

     #    5WTG

     3    #PF+YCPV[QWVQNQQMCVVJGPQUGQH/KNGU&CXKUKP

     VJGRJQVQCPFVJGVCVVQQ

     #    7JJWJ

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW    Document 237-1   Filed 03/08/24   Page 23 of 78 Page
                                   ID #:5364

                                                                         


     #    2GQRNGEQXGTO[UQPIUCNNVJGVKOG

                6*'%1746.GV ULWUVUVQR

                /4)41&5-;1DLGEVKQPTGNGXCPEG

                6*'%17465WUVCKPGF

     $;/4#..'0

     3    /T(CTOGTECOGVQ[QWCPFVQNF[QWVJCVJGYCPVGFVQ

     GXGPVWCNN[IGVCYJQNGUNGGXGQH/KNGU&CXKUKPURKTGF

     VCVVQQUFKFP VJG!

     #    6JCV UTKIJV

     3    #PFKUP VVJCVVJGTGCUQPYJ[VJGJCKTNKPGKUCNKVVNG

     DKVFKHHGTGPVUQVJCVYC[[QWEQWNFKPEQTRQTCVGQVJGT

     VCVVQQUNCVGTQP!

     #    6JGJCKTNKPGKUFKHHGTGPVDGECWUGKV UO[

     KPVGTRTGVCVKQPQHVGNNKPIVJGUVQT[QHVJKUCTVKUVVJCV

     OGCPVUQOWEJVQJKOCPFWUKPIVJGCTVYQTMVJCVJGYCU

     KPURKTGFD[5Q[QWMPQYVCVVQQKPIKUUVQT[VGNNKPIVQQ
       KPURKTGFD[ 5Q[QWMPQYVCVVQQKPIKUUVQT[VGNNKPIVQQ

     LWUVNKMGRJQVQITCRJ[KU

     3    4KIJV$WVUQOGQHVJGTGCUQPUYJ[KV UCNKVVNGDKV

     FKHHGTGPVCTQWPFVJGGFIGUKUUQVJCVYC[[QWEQWNFCFFVQ

     KVNCVGTYKVJQVJGTVCVVQQUKUP VVJCVTKIJV!

     #    5WTG2CTVUQHKV[GCJ5QOGQHKVKULWUVCNUQO[

     EQORQUKVKQP6JCV ULWUVJQY++PGXGTFQNKMGC

     HNQCVKPIJGCF+CNYC[UETGCVGCEQORQUKVKQPCTQWPFC

     RQTVTCKV

     3    #PFDGECWUGQHVJCV[QWCFFGFYJCV[QWTGHGTTGFVQCU

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 24 of 78 Page
                                  ID #:5365

                                                                        


     VGZVWTGCTQWPFVJGJCKTKUP VVJCVTKIJV!

     #    ;GU

     3    5QCPF[QWLWUVEQRKGF/KNGU&CXKU JCKTCUFGRKEVGF

                        V[QW!
       KPVJGRJQVQFKFP V[QW!

     #    9JCV!%CP[QWTGRGCVVJCV!+
             9JCV! %CP[QWTGRGCVVJCV! + OUQTT[

     3    ;QWLWUVEQRKGF/KNGU&CXKU JCKTCUFGRKEVGFKPVJG

     RJQVQ!

     #    0QVCVCNN+VJKPMVJCV
             0QVCVCNN +VJKPMVJCV UQPGQHVJGDKIRCTVUVJCV

     KURTGVV[PQVXGT[UKOKNCTCVCNN+VJKPMGXGPYJGP
       KURTGVV[PQVXGT[UKOKNCTCVCNN +VJKPMGXGPYJGP

     [QWNQQMCVVJGVTCEKPIQPVJGNKPGFTCYKPI+YCUOCRRKPI

     QWVVJGOQVKQPQHJCKTJKIJNKIJVUCPFETGCVKPIO[QYP

     6JG[ TGTGCNN[PQVCEEWTCVGVQVJGRJQVQ

     3    $QVVQONKPGKUVJCVVJGVCVVQQKUCJWPFTGFRGTEGPV

     GZCEVN[VJGUCOGCU/T5GFNKM UVCVVQQKUP VVJCVTKIJV!

     #    1JPQ+YQWNFJKIJN[FKUCITGGVJCVKV
             1JPQ +YQWNFJKIJN[FKUCITGGVJCVKV UPQVGZCEVN[

     VJGUCOG

                  6*'%1746;QWTGHGTTGFVQ/T5GFNKM UVCVVQQ

                  /4#..'0+ OUQTT[!

                  6*'%1746;QWTGHGTTGFVQ/T5GFNKM UVCVVQQ

                  /4#..'05QTT[.GVOGTGRJTCUG

     3    6JGDQVVQONKPGKUVJCVVJGVCVVQQKUCJWPFTGFRGTEGPV

     GZCEVN[VJGUCOGCUVJGTGHGTGPEGRJQVQQH/T5GFNKMKUP V

     VJCVTKIJV!

     #    +YQWNFFKUCITGG+FQP VVJKPMKV UGZCEVN[VJGUCOG

     3    #PF[QWTRQTVTCKVUCTGVTCEGFFKTGEVN[HTQOVJGCEVWCN

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 25 of 78 Page
                                  ID #:5366

                                                                        


     3    #PF[QW XGVGUVKHKGFVJCV[QWTVCVVQQKUHTGGJCPF

     TKIJV!

     #    6JGVCVVQQKPIRCTVKUHTGGJCPF6JCV UCVCVVQQVGTO

     (TGGJCPFKUVQNKMG[QWMPQY[QWMPQYYJGPNKMG

     UQOGQPGKURCKPVKPINKMGCNCPFUECRGCPF[QWRWV[QWTGCUGN

     WRCPFVJGP[QWNQQMCVVJGVTGGCPFVJGP[QW TGFQKPIVJCV

     6JCV UEQPUKFGTGFHTGGJCPF

     3    $WVVJGQPN[VJKPIVJCV UHTGGJCPFVJCV[QWFKFYCU

                      VVJCVTKIJV!
       VJGUJCFKPIKUP VVJCVTKIJV!

     #    9JKEJKURGTEGPVQHVJGVCVVQQ

     3    /U8QP&TCEJGPDGTI[GUQTPQ!

     #    1J[GU

     3    6JGQPN[VJKPIHTGGJCPFVJCV[QWFKFKPVJGVCVVQQKU

     VJGUJCFKPIKUVJCVTKIJV!

     #    ;GU#NNTKIJV/QUVQHKV[GCJ+VJKPM+FKFUQOG
             ;GU #NNTKIJV /QUVQHKV[GCJ +VJKPM+FKFUQOG

     QHVJGHTGGJCPFUQOGQHVJGNKPGUCTGCNUQHTGGJCPF

     GXGPVJQWIJVJGTG UPQVTGCNN[CNQVQHNKPGUKPRQTVTCKVU

     $WVNKMGVJGYTKPMNGUVJGTG UPQYC[VJCV[QWECPOCRQWV

                                     HCEG
       CNNVJGYTKPMNGUQP/KNGU&CXKU HCEG

                5QCNQVQHVJCVYCUOGLWUVIKXKPI[QWVJG

     UGPVKOGPVQHYTKPMNGUWPFGTJKUG[GU+VYCUNKMG[QW
       UGPVKOGPVQHYTKPMNGUWPFGTJKUG[GU +VYCUNKMG[QW

     MPQYVJGVJGTGHNGEVKQPVJCV/T5GFNKMTGHGTTGFVQ

     GCTNKGT.KMG+FKFP
       GCTNKGT .KMG+FKFP VUGGVJCVDGECWUGKVYCULWUVC

     OGFKWOTGUKOCIGHTQOQPNKPG
       OGFKWOTGUKOCIGHTQOQPNKPG

                5QVJG[YGTGO[KPVGTRTGVCVKQPUQHJKIJNKIJVU5Q
                  5QVJG[YGTGO[KPVGTRTGVCVKQPUQHJKIJNKIJVU 5Q

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 26 of 78 Page
                                  ID #:5367

                                                                        


     UQOGQHVJCVKUHTGGJCPF+V
       UQOGQHVJCVKUHTGGJCPF +V UPQVLWUVVJGUJCFKPI

     3    ;QWWPFGTUVCPFVJCVOCIC\KPGUDGHQTGVJG[WUGC

     RJQVQITCRJJCXGVQFQVJGKTFWGFKNKIGPEG6JG[ECP VLWUV

     WUGCRJQVQYKVJQWVRGTOKUUKQPQHVJGRJQVQITCRJGTTKIJV!

     #    ;GCJ

     3    $WV[QWFQP VVJKPMVJGUCOGTWNGUCRRN[VQ[QWYJGPKV

     EQOGUVQCTVKUVTGHGTGPEGRJQVQU!

     #    0Q+VJKPMVJGTG UCFKHHGTGPEGDGVYGGPUGNNKPIC

     RTQFWEVNKMGCOCUURTQFWEGFOCIC\KPGVJCVNKMG[QW

     MPQYYJCVGXGTPCOGVJGDKIOCIC\KPGVJCV UUGNNKPI;QW TG

     UGNNKPIVJQWUCPFUQHWPKVUDCUGFQHHQHUQOGDQF[ UCTVYQTM

                + ONKVGTCNN[VCVVQQKPIO[HTKGPFYKVJJKU

     HCXQTKVGVTWORGVRNC[GTDGECWUGKVOGCPUCNQVVQJKOCPF+

     OCMG\GTQOQPG[QHHQHKV5Q+VJKPMVJGTG U+ OPQV

     OCUURTQFWEKPICP[VJKPIQTICKPKPICP[OQPGVCT[XCNWGUQ+

     VJKPMVJGTG UCDKIFKHHGTGPEG

     3    9GNN[QWYQWNFP VEQR[

     #    +V UHCPCTV

     3    5QTT[VQKPVGTTWRV

     #    5QTT[+EQPUKFGTVJKUHCPCTVCPFUQ+FQUGGKVCU

     FKHHGTGPVVJCP[QWMPQYCEQTRQTCVKQPNKMGVCMKPI

     CFXCPVCIGQHCPCTVKUV+V UPQVYJCV+ OFQKPI

     3    ;QWYQWNFP VEQR[CPQVJGTVCVVQQFGUKIPYQWNF[QW!

     #    5WTG2GQRNGFQCNNVJGVKOG

     3    ;QWFQ!

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 27 of 78 Page
                                  ID #:5368

                                                                        


                /4#..'0;QWT*QPQTDGHQTGVJGFGHGPFCPVU

     RTGUGPVVJGKTECUG

                6*'%1746&Q[QWYCPVVQCRRTQCEJ!

                /4#..'05WTG

                 (The following was held at the bench:)

                       MOTION FOR DIRECTED VERDICT

                /4#..'0+
                  /4#..'0 + FNKMGVQOQXGHQTFKTGEVGFXGTFKEV

     QPUWDUVCPVKCNUKOKNCTKV[-CV8QP&CFOKVVGFVJG
       QPUWDUVCPVKCNUKOKNCTKV[ -CV8QP&CFOKVVGFVJG

     UKOKNCTKV[QPCNNQHVJQUGGNGOGPVU6JGTG
       UKOKNCTKV[QPCNNQHVJQUGGNGOGPVU 6JGTG UPQGXKFGPEGVQ

     VJGEQPVTCT[+OGCPUJG
       VJGEQPVTCT[ +OGCPUJG UCFOKVVGFKV
                                  UCFOKVVGFKV

                5QQPVJGKUUWGQHUWDUVCPVKCNUKOKNCTKV[+VJKPM

     KVYQWNFHCEKNKVCVGVJKPIUOQXKPIHQTYCTFKHYGEQWNFOQXG

     HQTCFKTGEVGFXGTFKEVQPVJCV

                /4)41&5-;9GNNUJG
                  /4)41&5-; 9GNNUJG UPQVHKTUVQHCNN+

     JCXGVJGQRRQTVWPKV[VQCUMJGTSWGUVKQPU5JGJCUPQV
       JCXGVJGQRRQTVWPKV[VQCUMJGTSWGUVKQPU 5JGJCUPQV

     CFOKVVGFQPCP[VJKPI4GOGODGTVJGTG
       CFOKVVGFQPCP[VJKPI 4GOGODGTVJGTG UCPGZVTKPUKECPFCP

     KPVTKPUKEVGUV
       KPVTKPUKEVGUV

                'ZVTKPUKEVGUVTGSWKTGUJKUENKGPVVQKFGPVKH[VJG

     QDLGEVKXGHCEVQTUVJCVVJGQDLGEVKXGETGCVKXGHCEVQTU

     VJCVOCMGWRJKUVCVVQQCPFVJGPYGJCXGVQFGVGTOKPG

     YJGVJGTVJGITQWRQHVJGOCTGUKOKNCTCPFVJCVJCUP V

     JCRRGPGF6JCVVGUVKOQP[KUFKURWVGFCVVJKURQKPVKPVKOG
       JCRRGPGF 6JCVVGUVKOQP[KUFKURWVGFCVVJKURQKPVKPVKOG

                6*'%1746+
                  6*'%1746 + NNVCMGKVWPFGTUWDOKUUKQP

                /4#..'06JCPM[QW;QWT*QPQT
                  /4#..'0 6JCPM[QW;QWT*QPQT

       (The following was in open court in the jury's presence:)

           &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW    Document 237-1   Filed 03/08/24   Page 28 of 78 Page
                                   ID #:5369

                                                                         


     VQDG+ OLWUVOCRRKPIKVQWVUQVJCVKV UMKPFQHNKMGC

     EQFGHQTVJGCTVKUVVQMPQY

                   #PFVJGPYJGP+UVGPEKNKVQP+CNYC[UYCTPVJG

     ENKGPV*G[TGOGODGTKV UIQKPIVQNQQMETC\[.KMGKV U

     IQKPIVQNQQMNKMGCOQPUVGTDWVVJKUKUPQVYJCVKV UIQKPI

     VQNQQMCVVJGGPFCHVGT+FQCNNVJGHTGGJCPFUJCFKPI

                   #PFUQKV UOQTGHQT[QWVQMPQYUK\GCPFVJG

     RNCEGOGPV

     3     .GVOGUGG'ZJKDKV

     #     #PFVJGPKPOCP[ECUGU[QWMPQYVJGENKGPVYKNNUC[

     6JCV UYC[VQQDKI1JO[IQUJ1TJG[VJCV U+

     YCPVGFKVDKIIGT1TECPYGGZRNQTGRWVVKPIKVQPCPQVJGT

     CTO!

                   5QHQTGZCORNGKH+YQWNFJCXGKHJGYQWNF

     JCXGIQVVGPKVQPJKUQVJGTCTO+YQWNFJCXGHNKRRGFVJG

     KOCIGLWUVDGECWUGKV UEQPUKFGTGFEQTTGEVVQHCEGHQTYCTF

     QPFGRGPFKPIQPYJCVUKFGQH[QWTDQF[

     3     5QVCMGCNQQMCV'ZJKDKV

                   6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

     3     &Q[QWTGEQIPK\GVJKU!

     #     ;GU

     3     9JCVKUVJKU!

     #     6JKUKUVJGNKPGFTCYKPIVJCV+ETGCVGFDCUGFQHHQH

     /T5GFNKM URJQVQ

     3     %CP[QWVGNNOGYJCVQPVJKUFTCYKPIKUYJCV[QW

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 29 of 78 Page
                                  ID #:5370

                                                                        


     TGHGTTGFVQCUOCRRKPIQWV!

     #    #NNQHKV +OGCPYJGP[QW TGVCVVQQKPICRQTVTCKV+
             #NNQHKV+OGCPYJGP[QW

     VCVVQQGFPQPGQHVJGUGNKPGU+VJKPMVJGTG
       VCVVQQGFPQPGQHVJGUGNKPGU +VJKPMVJGTG UCEVWCNN[PQ

     NKPGUKPVJGRQTVTCKV#VNGCUVHQTOG5QOGVCVVQQGTUFQ
       NKPGUKPVJGRQTVTCKV #VNGCUVHQTOG 5QOGVCVVQQGTUFQ

     KVFKHHGTGPVN[

                5QVJGUGCTGUMGVEJGUQHNKMG[QWECPUGGVJGPQUG

     CPFVJGG[GUNKMG[QWMPQYKH[QW\QQOKPQPVJGG[G

                        VUGG/T5GFNKMKPVJGTGHNGEVKQP+
       VJGTG U[QWFQP VUGG/T5GFNKMKPVJGTGHNGEVKQP +

     FKFO[QYPKPVGTRTGVCVKQPQHYJCVCJKIJNKIJVOKIJVDG[QW

     MPQY
       MPQY

                #PFVQDGJQPGUV+FKFP VJCXGCJKIJTGUKOCIG

     QHVJKU+LWUVIQVVJGRTKPVQWVHTQO)QQINGUQ+FKFP
       QHVJKU +LWUVIQVVJGRTKPVQWVHTQO)QQINGUQ+FKFP V

     MPQYVJGTGYCUHCDTKEQTCP[QHVJCVKPJKUUJKTV.KMG+
       MPQYVJGTGYCUHCDTKEQTCP[QHVJCVKPJKUUJKTV .KMG+

     LWUVGXGPKH[QWNQQMCVVJCVUVTQMGUQTT[
       LWUVGXGPKH[QWNQQMCVVJCVUVTQMGUQTT[

                +H[QWUETQNNFQYPCNKVVNGDKVNKMGYJGTGJKU

     UJQWNFGTKU6JCV
       UJQWNFGTKU 6JCV UHTQOVJGGXGPJKULCYNKPG6JCV
                          UHTQOVJGGXGPJKULCYNKPG 6JCV U

     PQVCEEWTCVGVQJKULCYNKPG+
       PQVCEEWTCVGVQJKULCYNKPG + OLWUV[QWMPQYRWVVKPIKV

     KPVWKVKXGN[YJGTG+VJKPMKVYQWNFIQ.KMGVJCV
       KPVWKVKXGN[YJGTG+VJKPMKVYQWNFIQ .KMGVJCV UPQVJKU

     CEVWCNUJQWNFGT

     3    #NNTKIJV5QYKNN[QWGZRNCKPVJGRTQEGUUQPEG[QW XG

     ETGCVGFVJGNKPGFTCYKPIYJCV UVJGVGEJPKECNRTQEGUUQH

     YJCV[QWFQYKVJKV!

     #    5QYKVJVJKU[QWMPQY+WUWCNN[VGPFVQFTCYTGCNN[

     NCTIGDGECWUG+YCPVVQDGCDNGVQMKPFQHIGVVJGUEQRGQH

     YJGTGFGVCKNRNCEGOGPVYKNNDG

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 30 of 78 Page
                                  ID #:5371

                                                                        


                .KMG+FKFJKURWRKNUYKVJVJGNKPGTCPFQVJGT

     VJCPVJCVYGLWORGFKPVQVJGUJCFKPIRTGVV[SWKEMN[CPF

     VJCV UYJGTGCNNVJGHTGGJCPFUJCFKPIUVCTVU

                      (Pause in the proceedings.)

     3    Let's put that up.

                6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

     3    #NNTKIJV/U8QP&+JCXGRWVWR'ZJKDKVCPF
             #NNTKIJV /U8QP&+JCXGRWVWR'ZJKDKVCPF

     + OYQPFGTKPIKH[QWEQWNFGZRNCKPUQOGQHVJGFKHHGTGPEGU

     DGVYGGP[QWTKPVGTRTGVCVKQPCPF/T5GFNKM URJQVQITCRJ

     #    5WTG6JKUKUQDXKQWUN[UJQYKPIOQTGQHVJGHTQPVXKGY
             5WTG 6JKUKUQDXKQWUN[UJQYKPIOQTGQHVJGHTQPVXKGY

     UKPEGKV UQP$NCMG UCTO#U[QWIW[UUCYGCTNKGTVQFC[
                           UCTO #U[QWIW[UUCYGCTNKGTVQFC[

     KVMKPFQHYTCRUCTQWPF
       KVMKPFQHYTCRUCTQWPF

                #PFUQ[QWUGGNKMGVJGEGPVGTRCTVKU[QWMPQY

     O[TGPFKVKQPQH/T5GFNKM URJQVQITCRJCPFVJGP+FKFO[

     QYPKPVGTRTGVCVKQPQHVT[KPIVQETGCVGCEQORQUKVKQP
       QYPKPVGTRTGVCVKQPQHVT[KPIVQETGCVGCEQORQUKVKQP

                5QNKMG+UCKFDGHQTG+FQP VYCPVKVVQNQQM

             UCVQVGORQNG.KMGRGQRNGDTKPIKPRJQVQUCNNVJG
       NKMGKV UCVQVGORQNG .KMGRGQRNGDTKPIKPRJQVQUCNNVJG

     VKOGCPFVJGPKH+YGTGVQFQKVGZCEVN[NKMGVJGRJQVQKV

     YQWNFLWUVNQQMNKMGCDNQEMYKVJNKMGCJGCFEWVQHH

     HNQCVKPIQP[QWTCTO
       HNQCVKPIQP[QWTCTO

                5Q+CNYC[UUWIIGUVVQVJGENKGPVVJCV[QWMPQY

     VQCFFUQOGV[RGQHEQORQUKVKQPCPFVJCV UYJGTG+UVCTVGF

     RWVVKPINKMGVJGPGICVKXGURCEGCPF[QWUGGNKMGVJCV

     VGZVWTGVJCVMKPFQHKUCNKVVNGDKVUOQM[

                .KMG+OGPVKQPGFDGHQTGCNQVQHVJCVYCUKP

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 31 of 78 Page
                                  ID #:5372

                                                                        


     RTGRCTCVKQPHQTVJGTGUVQHVJGVCVVQQ9GYGTGIQKPIVQ
       RTGRCTCVKQPHQTVJGTGUVQHVJGVCVVQQ 9GYGTGIQKPIVQ

     KVYCUOQTGKPURKTGFD[VJGCNDWOCTVYQTMQH$KVEJGU$TGY

     OQTGVJCPVJKUCEVWCNRJQVQ

     3    &KF[QWCFFCP[UJCFKPIQTJKIJNKIJVVQVJGHKPIGTU!

     #    0Q+RTQDCDN[LWUVFKFNGUUQHKV+VJKPM[QW
             0Q +RTQDCDN[LWUVFKFNGUUQHKV +VJKPM[QW

                           OPQVVT[KPIVQDGCECOGTC+YCPV
       MPQYCUCVCVVQQGT+ OPQVVT[KPIVQDGCECOGTC +YCPV

     [QWVQUGGVJGJWOCPHKPIGTRTKPV6JKUUJQWNFHGGNNKMG+
       [QWVQUGGVJGJWOCPHKPIGTRTKPV 6JKUUJQWNFHGGNNKMG+

     VCVVQQGFKVXGTUWULWUVCUVKEMGT
       VCVVQQGFKVXGTUWULWUVCUVKEMGT

                5QCU[QWECPUGGNKMGKPVJGHQTGJGCFCPFUVWHH

            VIGVOKETQUEQRKEYKVJVJGFGVCKNU+FKFP
       +FKFP VIGVOKETQUEQRKEYKVJVJGFGVCKNU +FKFP VFQVJG

     XGKPUKPJKUVGORNG;QWMPQYVJGGXGPVJGHWTTQYGF
       XGKPUKPJKUVGORNG ;QWMPQYVJGGXGPVJGHWTTQYGF

     DTQY[QWMPQY+TGCNN[FKFP VIGVCUKPXQNXGFCUVJG

     RJQVQ+UKORNKHKGFCNQVQHVJCV6JGG[GUCUYGNN.KMG
       RJQVQ +UKORNKHKGFCNQVQHVJCV 6JGG[GUCUYGNN .KMG

                             TGFGHKPKVGN[PQVVJGUCOG+
       QPVJGJKIJNKIJVUVJG[ TGFGHKPKVGN[PQVVJGUCOG +

     VJKPM[GCJ

     3    &KF[QWKPENWFGVJGENQVJKPIKPVJGVJGENQVJKPI

     VJCV/T&CXKUYQTG!

     #    0Q.KMG+UCKF+YCU+GXGPYCUIWGUUVKOCVKPIQP
             0Q .KMG+UCKF+YCU+GXGPYCUIWGUUVKOCVKPIQP

     JKULCYNKPG6JKUKUCOWEJJKIJGTTGUKOCIGUQ[QWECP
       JKULCYNKPG 6JKUKUCOWEJJKIJGTTGUKOCIGUQ[QWECP

     ENGCTN[UGGVJGLCYNKPGQPKVYJGTGCUOKPGFQGUP VGXGP

     KPENWFGCLCYNKPG
       KPENWFGCLCYNKPG

                #PFVJGP+VJKPMVJGQVJGTVJKPIVJCVUGVUNKMG

     RQTVTCKVCTVKUVUCRCTVHTQOGCEJQVJGTKUVJCVNKMGCP[DQF[

     ECPNGCTPJQYVQVCVVQQ[QWMPQY+VFQGUP
       ECPNGCTPJQYVQVCVVQQ[QWMPQY +VFQGUP VVCMGNKMGC

     IGPKWUQTCP[VJKPI+V
       IGPKWUQTCP[VJKPI    ULWUVCOCVVGTQHRTCEVKEG
                            +V ULWUVCOCVVGTQHRTCEVKEG

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 32 of 78 Page
                                  ID #:5373

                                                                        


                 $WVNKMGYJCVOCMGU[QWUVCPFQWVKULWUVYJGP[QW

     UV[NK\GVJKPIUCPFNKMGYJGP[QWNQQMCVNKMGVJGYC[VJCV

     VJGYTKUVKUKPUVGCFQHNKMGHWNN[RQNKUJKPICPFTGPFGTKPI

     KV+LWUVYCPVGFVQOCMGKVOQTGCDUVTCEVCPFIKXG[QW

     CNOQUVNKMGCYCVGTEQNQTHGGNKPI
       CNOQUVNKMGCYCVGTEQNQTHGGNKPI

                 #PFVJCVYC[NKMGYJGP[QWEQORCTGVJKUVQQVJGT

     /KNGU&CXKU VCVVQQUYJKEJVJGTGCTGOCP[QHKV UIQKPIVQ

     DGFKHHGTGPV+OGCPKV
       DGFKHHGTGPV +OGCPKV UO[TGPFKVKQP

     3    #NNTKIJV9GMPQYVJCV[QWOCFGVJGVCVVQQCPFYG TG

     IQKPIVQVCNMCDQWVVJGUQEKCNOGFKCRQUVU$WVLWUVVQDG

     ENGCTFKF[QWGXGTCVVGORVVQUGNNCP[RTKPVUQTKOCIGUQH

     VJKUVCVVQQ!

     #    0QPQPGCVCNN#PF+PGXGTCPF+PGXGTRJTCUGFKV

     VQVCMGETGFKVHQTVJKURJQVQ+YCUDQTPKPUQ

     VJGTG UPQYC[+EQWNFJCXGVCMGPVJKURJQVQ+YQWNFJCXG

     DGGPNKMGHQWTQTUQOGVJKPI

     3    #PFVJGPFKF[QWGXGTUGNNQTOCPWHCEVWTGCP[

     OGTEJCPFKUGWUKPIVJGVCVVQQ!

     #    0Q

     3    &KF[QWOCMGCP[OQPG[CVCNNKPEQPPGEVKQPYKVJVJG

     VCVVQQ!

     #    0QVCVCNN

                 /4)41&5-;;QWT*QPQT+ECPOQXGQPVQCPQVJGT

     CTGCKH[QWYQWNFNKMG+MPQYYG TGENQUGVQVJGVKOG

                 6*'%1746#NNTKIJV9GECPIQCJGCFCPFUVQR

            &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 33 of 78 Page
                                  ID #:5374

                                                                        


     %'46+(+%#6'
       
     

     +2#6%70'1%54JGTGD[EGTVKH[VJCV

     RWTUWCPVVQ5GEVKQP6KVNG7PKVGF5VCVGU%QFGVJG

     HQTGIQKPIKUCVTWGCPFEQTTGEVVTCPUETKRVQHVJG

     UVGPQITCRJKECNN[TGRQTVGFRTQEGGFKPIUJGNFKPVJG

     CDQXGGPVKVNGFOCVVGTCPFVJCVVJGVTCPUETKRVRCIGHQTOCVKU

     KPEQPHQTOCPEGYKVJVJGTGIWNCVKQPUQHVJG,WFKEKCN

     %QPHGTGPEGQHVJG7PKVGF5VCVGU

     
       &CVG(GDTWCT[
     

     

     

     

     UAAAAAAAAAAAAAAAAAAAAAAAAAA

     2#6%70'11((+%+#.4'2146'4
       %5401
     

     

 

 

 

 

 

 

 

           &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 34 of 78 Page
                                  ID #:5375




                  EXHIBIT C
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 35 of 78 Page
                                  ID #:5376

                                                                        


                       70+6'&56#6'5&+564+%6%1746

                      %'064#.&+564+%61(%#.+(140+#

                              9'56'40&+8+5+10

             6*'*1014#$.'&#.'5(+5%*'4,7&)'24'5+&+0)

                                       

     ,'((4';$5'&.+-

                                           
                     2NCKPVKHH 
      
        
     X                 0Q%8&5(/49
        
     -#6*'4+0'810&4#%*'0$'4)CMC-#6
       810&-#6810&+0%CPF*+)*
     81.6#)'6#6611+0%
        
      &GHGPFCPVU 
       AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA 
     

     

     

                  4'2146'4 564#05%4+261(241%''&+0)5
       
                                       

                           .QU#PIGNGU%CNKHQTPKC

                  6JWTUFC[,CPWCT[#/
       
         &C[QH,WT[6TKCN2CIGVJTQWIJ+PENWUKXG

     
              2#6%70'1%54%44%/
     1HHKEKCN4GRQTVGT
       (KTUV5VTGGV%QWTVJQWUG
     4QQO
       9GUVUV5VTGGV
     .QU#PIGNGU%CNKHQTPKC
       
     RCVEWPGQ"IOCKNEQO
       YYYRCVEWPGQEQO
   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 36 of 78 Page
                                  ID #:5377

                                                                        


     3    1MC[5QYG TGIQKPIVQUJQY[QWYJCVKU'ZJKDKV

     +VUJQWNFCRRGCTQP[QWTUETGGP

                       (The videotape was played.)

     $;/4)41&5-;

     3    #NNTKIJV/U8QP&TCEJGPDGTI[QWTGXKGYGFVJKU

     XKFGQNCUVPKIJVCUYGNNFKFP V[QW!

     #    +FKF

     3    1MC[#PFKPNQQMKPICVVJKUXKFGQCTG[QWCDNGVQ
             1MC[ #PFKPNQQMKPICVVJKUXKFGQCTG[QWCDNGVQ

     RQKPVQWVCP[QVJGTFKHHGTGPEGUQTFKUVKPEVKQPUDGVYGGP[QWT

     VCVVQQCPF/T5GFNKM URJQVQITCRJ!

     #    5WTG+VJKPMVJKUXKFGQWPNKMGVJGUVKNNKVUJQYU
             5WTG +VJKPMVJKUXKFGQWPNKMGVJGUVKNNKVUJQYU

     [QWVJGGPVKTGTCFKWUQHVJGVCVVQQUQ[QWECPUGGCNQVQH

     VJGFGVCKNKPVJGDCEMGURGEKCNN[CPF+ OPQVUWTGKH

     [QW TGCDNGVQNKMGTGYKPFCPFRCWUGKV

                $WVVJGTG UQDXKQWUN[DKIFKHHGTGPEGUKPYJCVYG

     YGTGTGHGTTKPIVQCUEQORQUKVKQP[GUVGTFC[5QCNQVQH
       YGTGTGHGTTKPIVQCUEQORQUKVKQP[GUVGTFC[ 5QCNQVQH

     VJCVQTCNNQHVJCVYQWNFDGHTGGJCPFYJKEJKUEQOKPI

     HTQOO[QYPKPVGTRTGVCVKQPCPFVJCVYQWNFKPENWFGCNQVQH

     VJGYCXGUVJCV[QWUGGKPVJGJCKTCPFETGCVKPIO[QYP

     JKIJNKIJVUCPFCEVWCNN[ETGCVKPICNQVQHO[QYPJCKTVJCV

     [QWECPUGGLWUVCNQVENQUGTQPVJGDCEMUKFGQHKV

     3    #PFYGTGVJGTGCP[FKUVKPEVKQPUYKVJTGURGEVVQVJG

     LCYNKPG!

     #    ;GU/[LCYNKPGKUCFGHKPKVGKPVGTRTGVCVKQPCPFFQGU

     PQVOCVEJVJGRJQVQITCRJKVUGNHCUYGNNCUVJGUJQWNFGT

   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 37 of 78 Page
                                  ID #:5378

                                                                        


     #    6JG[YGTGNKPMGFCUYGNN

     3    #NNTKIJV#PFCICKPYJQOCFGVJGRQUVUQPVJG*KIJ

     8QNVCIGCEEQWPVU!

     #    *KIJ8QNVCIG6CVVQQYCUTWPD[YJQGXGTVJGUJQRJGNRGT

     YCUCVVJGVKOGQT[QWMPQYVJGVCVVQQGTUVJCVYQTMGFCV

     VJCVUJQRYGTGYGNEQOGFVQWUGKVYJGPGXGTVJG[YCPVGFVQCU

     YGNN

     3    #NNTKIJV

                  + FNKMGVQVCMGCNQQMCV'ZJKDKV

                  6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

     3    #NNTKIJV+
             #NNTKIJV + XGRWVWR'ZJKDKV6JKUKUQPGQH
                           XGRWVWR'ZJKDKV 6JKUKUQPGQH

     [QWTUQEKCNOGFKCRQUVUCPFVJKURQUVKUFCVGF/CTEJ

     &Q[QWUGGVJCV!
        &Q[QWUGGVJCV!

     #    ;GU

     3    1MC[6JKURQUV[QWWPFGTUVCPFYCUTGRQUVGFCVQVJGT
             1MC[ 6JKURQUV[QWWPFGTUVCPFYCUTGRQUVGFCVQVJGT

     VKOGUCPFQPQVJGTCEEQWPVEQTTGEV!

     #    ;GU

     3    1MC[$WVVJGRKEVWTGKUVJGUCOGKPCNNQHVJQUG
             1MC[ $WVVJGRKEVWTGKUVJGUCOGKPCNNQHVJQUG

     RQUVUEQTTGEV!
       RQUVUEQTTGEV!

     #    ;GU

     3    1MC[5Q+YCPVVQVCNMCDQWVVCNMCDQWVVJKURQUV
             1MC[ 5Q+YCPVVQVCNMCDQWVVCNMCDQWVVJKURQUV

     9J[FKF[QWOCMGVJKURQUV!
       9J[FKF[QWOCMGVJKURQUV!

     #    7OOKV ULWUVCRKEVWTGQHOGFQKPIYJCV+FQO[

     VCVVQQUCPFUQ+NKMG+UCKF+NKMGVQUJCTGRTQEGUUQH

     O[FCKN[NKHGYKVJO[HTKGPFUCPFHQNNQYGTU

   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 38 of 78 Page
                                  ID #:5379

                                                                        


     3    1MC[0QY/T#NNGPUJQYGF[QW[GUVGTFC[QVJGT
             1MC[ 0QY/T#NNGPUJQYGF[QW[GUVGTFC[QVJGT

     +PUVCITCORQUVUCPFUQOGQHVJGOJCFYGDUKVGUQTNKPMUYJGTG

     [QWEQWNFIQUQOGYJGTGYJGTG[QWEQWNFDW[CRTQFWEV

                  &KFVJKUUQEKCNOGFKCRQUVJCXGCP[NKPMVQ

     UQOGYJGTGYJGTG[QWEQWNFDW[CRTQFWEV!

     #    0Q

     3    9GTG[QWRTQOQVKPICP[MKPFQHRTQFWEVYKVJVJKUNKPM!

     #    0QVCVCNN

     3    5Q+UGGVJGTG UC/KNGU&CXKU&Q[QWUGGVJCV!

     #    ;GU

     3    9JCVKUJCUJVCILWUVKHEQWNF[QWGZRNCKPHQTVJGLWT[

     CPFVJG%QWTVYJCVCJCUJVCIOGCPU

     #    9JGP[QWJCUJVCICYQTFKVOCMGUKVCJ[RGTNKPMUQ[QW

     ECPENKEMQPKVCPFKVYKNNVCMG[QWVQCP[QVJGTKOCIGUQP

     +PUVCITCOVJCVUJCTGVJCVUCOGJCUJVCI

                  5QVJKU+VCIIGF/KNGU&CXKUUQVJCV[QWMPQY

     KH[QWFQP VMPQYYJQJGKUKVYQWNFVCMG[QWVQRKEVWTGU

     QH/KNGU&CXKU

     3    5Q[QWYGTGP VVT[KPIVQRTQOQVGQTUGNN/KNGU&CXKU

     CNDWOQT6UJKTVUQTCP[VJKPI!

     #    0QVCVCNN

     3    #NNTKIJV1MC[.GVOGLWUVCOKPWVG.GVOGRWV

     WR'ZJKDKV

                  6JGGZJKDKVYCUFKURNC[GFQPVJGUETGGP

     3    #NNTKIJV6JKUKUCPQVJGT+PUVCITCORQUV6JKU

   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 39 of 78 Page
                                  ID #:5380

                                                                        


                6*'%17464GFKTGEV!

                /4)41&5-;0QSWGUVKQPU

                6*'%17466JCPM[QWXGT[OWEJ

                6*'9+60'556JCPM[QW

                6*'%1746;QWOC[UVGRFQYP

                &QGUVJGFGHGPUGJCXGCPQVJGTYKVPGUU!

                /4)41&5-;9GJCXGCYGNNYGJCXGUQOG

     FKURQUKVKQPUVQFGCNYKVJ

                6*'%17461MC[

                /4)41&5-;+JCXGURQMGPVQ/T#NNGPCNTGCF[

     CDQWVTGCFKPICXGT[UJQTVRQTVKQPQH/T5GFNKM U

     FGRQUKVKQPYJKEJ+ OIQKPIVQFQTKIJVPQY

                6*'%17461MC[

                /4)41&5-;5QVJKUKUHTQO/T5GFNKM U

     FGRQUKVKQPQP,CPWCT[VJ+V URCIGNKPG

     VQNKPGCPF/T#NNGPCPF+FKUEWUUGFCPFCITGGF

     VJCVFWTKPIVJKUFGRQUKVKQPVJGRJQVQITCRJCVKUUWGYCU

     DGKPITGHGTTGFVQCUVJG5KNGPEGRJQVQITCRJUQVJCV U

     YJCV UTGHWUGFVQ

     37'56+10*CUCP[QPGGXGTVQNF[QWVJCVVJG[

     YQWNFPQVDW[CEQR[QH[QWT5KNGPEGRJQVQITCRJCUC

     TGUWNVQHJCXKPIUGGP-CV8QP& UVCVVQQ!

     #059'40Q

     37'56+10*CUCP[QPGGXGTVQNF[QWVJCVVJG[
                 37'56+10 *CUCP[QPGGXGTVQNF[QWVJCVVJG[

     YQWNFPQVDW[CEQR[QH[QWT5KNGPEGRJQVQITCRJCUC

   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 40 of 78 Page
                                  ID #:5381

                                                                        


     TGUWNVQHVJGUQEKCNOGFKCRQUVUCDQWVVJGVCVVQQ!

               #059'4 0Q
       #059'40Q

                       (End of reading deposition.)

                /4)41&5-;#PFVJGPGZVYKVPGUUYGJCXGKUC

     YKVPGUUD[FGRQUKVKQP$T[CP8CPGICUCPFYGJCXGC

     XKFGQVCRGVJCVKPENWFGUGXGT[DQF[ URQTVKQPUYJKEJYG TG

     TGCF[VQRNC[

                6*'%1746#NNTKIJV

                /4#..'01PGUGEQPF;QWT*QPQT

                           (Counsel conferred.)

                /4)41&5-;#NNTKIJV5QYG TGKHKV UCNN

     TKIJVYKVJVJG%QWTVYG NNRNC[/T8CPGICU FGRQUKVKQP

                6*'%17466JCV UHKPG

                        (The videotape was played.)

                /4)41&5-;;QWT*QPQTYGJCXGPQOQTG

     YKVPGUUGU6JGFGHGPUGTGUVU

                6*'%1746#NNTKIJV

                #P[TGDWVVCN!

                /4#..'0;GU;GU;QWT*QPQT2NCKPVKHHU

     ECNN/T5GFNKM

                6*'%1746#NNTKIJV#RRTQCEJ

                 (The following was held at the bench:)

                6*'%17461MC[9JCV UVJGTGDWVVCNCDQWV!

                /4#..'0+YQWNFNKMGJKOVQTGURQPFVQ

     HKTUVQHCNNYJGP/T)TQFUM[UCKFJGYCUIQKPIVQTGCF

   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 41 of 78 Page
                                  ID #:5382

                                                                        


                /4#..'09GJCXGYQTMGFQPKVCPFUQYGJCXG

     UQOGVJKPIVJCVYG TGIQKPIVQUGPFVQ[QW

                /4)41&5-;$WV+ OLWUVUC[KPIVJCVFQGUP V

     JCXGVQDGFQPGDGHQTG+YQWNFVJKPMVJCVYGEQWNFIGVVJG

     LWT[KPUVTWEVKQPUFQPGKPCPJQWTQT+FQP VMPQYCPJQWT

     CPFCJCNHCPF[QWEQWNFTGCFVJGOCPFVJCVYQWNFGZRGFKVG

     VJKPIUDWV+ OCNUQHKPGKHKV U

                6*'%17469JCV UIQKPIVQVCMGCPJQWTCPFC

     JCNH!

                /4)41&5-;/C[DGPQV/C[DGKV UNGUUVJCP

     VJCV/C[DGKV UHCTNGUU+ OLWUVUC[KPIKVUGGOUNKMG

     YGEQWNFTGCFLWT[KPUVTWEVKQPU+YQWNFCUMVJCVYGUVCTV

     ENQUKPIVQOQTTQY

                /4#..'04KIJV+CITGG

                6*'%17469GNNYJCVMKPFQHCTIWOGPVUFQ[QW

     JCXGVQOCMG!+VJQWIJVYGYGTGCNNFQPGYKVJVJGOGZEGRV

     HQTOCMKPIVJQUGEJCPIGUYGFKUEWUUGF

                /4)41&5-;6JGTG UQPGQTVYQCTIWOGPVU+YCPV

     VQOCMGCDQWVYGNNKV UTGCNN[QPG#DQWVQPGQHVJG

     EJCPIGUVJCV[QWOCFG+FQP VMPQYYJCVJKU

                /4#..'0+JCXGCDWPEJ

                6*'%1746#NNTKIJV9GNN+IWGUU+ NNNGV

     VJGOIQJQOGVJGP+FQP VYCPVVQMGGRVJGOCTQWPFJGTG

     HQTCPJQWTLWUVVQTGCFOKPWVGUQHLWT[KPUVTWEVKQPU

                /4#..'0#PFVJGPCFFKVKQPCNN[KPNKIJVQH
                  /4#..'0 #PFVJGPCFFKVKQPCNN[KPNKIJVQH

   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 42 of 78 Page
                                  ID #:5383

                                                                        


     VJGENQUKPIQHVJGFGHGPUGECUGYGTGPGYQWTFKTGEVGF

     XGTFKEVQPUWDUVCPVKCNUKOKNCTKV[

                9GCNUQOQXGHQTCFKTGEVGFXGTFKEVQPVJG

     VJTGG[GCTDCT6JGTG
       VJTGG[GCTDCT 6JGTG UDGGPCDUQNWVGN[

                6*'%17461MC[9GNN[QWECPNGVVJGOIQCPF
                  6*'%1746 1MC[ 9GNN[QWECPNGVVJGOIQCPF

     VJGP[QWECP
       VJGP[QWECP

                /4#..'01MC[
                  /4#..'0 1MC[

       (The following was in open court in the jury's presence:)

                6*'%17469GNN+FQP VMPQYYJGVJGTVJGTG U

     IQQFPGYUCPFDCFPGYUQTIQQFPGYUCPFIQQFPGYUUQ+ NN

     NGV[QWFGEKFG;QWFQP VJCXGVQVGNNOGYJKEJKVKU

                5QVJGHKTUVIQQFPGYUKUVJCVYGHKPKUJGFOWEJ

     OQTGSWKEMN[VJCP+JCFRTGFKEVGFCPFUQDQVJUKFGUCTG

     HKPKUJGFRTGUGPVKPIVJGGXKFGPEG

                6JGUGOKDCFPGYUKU+JCXGVQYQTMQPVJGLWT[

     KPUVTWEVKQPUVQIKXG[QWCPF+EQWNFMGGR[QWCTQWPFJGTG

     YCKVKPIDWV+TGCNN[FQP VMPQYJQYNQPIVJCV UIQKPIVQ

     VCMGCPF+FQP VYCPVVQJCXG[QWUKVVKPICTQWPFHQTCPJQWT

     LWUVVQEQOGDCEMCPFJGCTUQOGLWT[KPUVTWEVKQPUYJGPYG

     ECPFQVJCVVQOQTTQY

                5Q+VJKPMVJGDGUVVJKPIHQTWUVQFQCPFVJG

     DGUVWUGQH[QWTVKOGKUHQTOGVQNGV[QWIQ+ OUQTT[

     [QWJCFVQEQOGFQYPJGTGHQTLWUVCPJQWTDWVNQQMCVKVCU

     JCXKPIVJGYJQNGPGZVYGGMVJCV[QWVJQWIJV[QWYGTGIQKPI

     VQJCXGVQURGPFJGTGKPUVGCF

   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1    Filed 03/08/24   Page 43 of 78 Page
                                  ID #:5384

                                                                         


                6*'%17469G NNUGG[QWVQOQTTQYCV+H

     UQOGVJKPIEQOGUWRGOCKNVJGEJCODGTUGOCKN

                #NNTKIJV6JCPM[QW

                /4)41&5-;6JCPM[QW;QWT*QPQT

                /4#..'06JCPM[QW

                6*'%.'4-#NNTKUG

                %QWTVKUCFLQWTPGF

                (At 12:42 p.m., the trial was adjourned.)

                

                                    Q1Q

     

     %'46+(+%#6'
       
     

     +2#6%70'1%54JGTGD[EGTVKH[VJCV

     RWTUWCPVVQ5GEVKQP6KVNG7PKVGF5VCVGU%QFGVJG

     HQTGIQKPIKUCVTWGCPFEQTTGEVVTCPUETKRVQHVJG

     UVGPQITCRJKECNN[TGRQTVGFRTQEGGFKPIUJGNFKPVJG

     CDQXGGPVKVNGFOCVVGTCPFVJCVVJGVTCPUETKRVRCIGHQTOCVKU

     KPEQPHQTOCPEGYKVJVJGTGIWNCVKQPUQHVJG,WFKEKCN

     %QPHGTGPEGQHVJG7PKVGF5VCVGU

     
       &CVG(GDTWCT[
     

     

     UAAAAAAAAAAAAAAAAAAAAAAAAAA

     2#6%70'11((+%+#.4'2146'4
       %5401
   &C[QH,WT[6TKCN,CPWCT[
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 44 of 78 Page
                                  ID #:5385




                  EXHIBIT D
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 45 of 78 Page
                                  ID #:5386

                                                                        


                       70+6'&56#6'5&+564+%6%1746

                      %'064#.&+564+%61(%#.+(140+#

                              9'56'40&+8+5+10

             6*'*1014#$.'&#.'5(+5%*'4,7&)'24'5+&+0)

                                       

     ,'((4';$5'&.+-
                                             
                   2NCKPVKHH 
        
      
       X                 0Q%8&5(/49
      
       -#6*'4+0'810&4#%*'0$'4)CMC-#6
     810&-#6810&+0%CPF*+)*
       81.6#)'6#6611+0%
      
        &GHGPFCPVU 
     AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA 
       
     

     

                  4'2146'4 564#05%4+261(241%''&+0)5
                                      
                                    

                           .QU#PIGNGU%CNKHQTPKC

                   (TKFC[,CPWCT[#/
       
         &C[QH,WT[6TKCN2CIGVJTQWIJ+PENWUKXG

     
       
            2#6%70'1%54%44%/
       1HHKEKCN4GRQTVGT
     (KTUV5VTGGV%QWTVJQWUG
       4QQO
     9GUVUV5VTGGV
       .QU#PIGNGU%CNKHQTPKC
     
       RCVEWPGQ"IOCKNEQO
     YYYRCVEWPGQEQO
       
              &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 46 of 78 Page
                                  ID #:5387

                                                                        


     VJKPMCDQWVVJGYQTFHCKTYJGP[QWFGEKFGYJGVJGT

     UQOGVJKPIKUHCKTKV UPQVNKMG[QWECPVCMGCDQQMCPFVJG

     DQQMYKNNVGNN[QW9GNNVJKUKUHCKTCPFVJKUKUPQV

     HCKT

                 (CKTKUUQOGVJKPIVJCVKPXQNXGULWFIOGPVCPF

     YGKIJKPIQHFKHHGTGPVHCEVQTUYJGP[QWFGEKFGYJGVJGT

     UQOGVJKPIKUHCKTCPFVJCV UYJCV[QW TGIQKPIVQJCXGVQ

     FQ

                 ;QW TGIQKPIVQJCXGVQYGKIJCPWODGTQH

     FKHHGTGPVHCEVQTUDCEMCPFHQTVJWRCPFFQYPCNNVQIGVJGT

     VQHKIWTGQWVCUCYJQNGKH[QWFGEKFGVJCVVJGWUGUVJCV

     CTGCVKUUWGJGTGCTGHCKT

                 5Q+YCPVVQUVCTVD[UC[KPIVJGUGHCEVQTUCTG

     CPCN[\GFFKHHGTGPVN[CPFVJGTGCUQP+UC[VJCVKUVJCV

     VJGTG UVYQHCEVQTUVJCVCTGVJGUCOGHQTGXGT[VJKPICPF

     VJGTG UVYQHCEVQTUVJCV[QWJCXGVQVJKPMCDQWVFKHHGTGPVN[

     HQTGCEJMKPFQHUQEKCNOGFKCRQUVUQCPFVCVVQQ

                 5QYJCV+YCPVVQFQKU+YCPVVQUVCTVYKVJVJG

     HCEVQTUVJCVCTGUQTVQHVJGUCOGHQTGXGT[VJKPICPF+ NN

     UVCTVYKVJVJGGCUKGUVQPG(CEVQT0QYJGVJGTVJG

     /KNGU&CXKURJQVQYCUETGCVKXG
       /KNGU&CXKURJQVQYCUETGCVKXG

                 9GNNVJGCPUYGTVQVJCVKU[GU6JG
                   9GNNVJGCPUYGTVQVJCVKU[GU 6JG

     /KNGU&CXKURJQVQYCUETGCVKXG6JGTG
       /KNGU&CXKURJQVQYCUETGCVKXG 6JGTG UPQSWGUVKQPCDQWV

     VJCV+V
       VJCV    UCHCPVCUVKERJQVQ
              +V UCHCPVCUVKERJQVQ

                 #PFVJGKPUVTWEVKQPUYKNNVGNN[QWVJCVVJCVOGCPU

               &C[QH,WT[6TKCN,CPWCT[
                               
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 47 of 78 Page
                                  ID #:5388

                                                                        


     VJCVVJKUHCEVQTECPDGYGKIJGFCICKPUVHCKTWUG5QVJCV
       VJCVVJKUHCEVQTECPDGYGKIJGFCICKPUVHCKTWUG 5QVJCV U

     CHCEVQTVJCVFQGUP VJGNROGDWVKUCHCEVQTVJCV[QWJCXG

     VQEQPUKFGT

                6JGPGZVHCEVQT+YCPVVQVCNMCDQWVVJQWIJKU

     (CEVQTCPF(CEVQTTGNCVGUVQVJGGHHGEVQHYGNNVJG

     GHHGEVQHVJGCEEWUGFKPHTKPIGT UWUGQPVJGRQVGPVKCN

     OCTMGVHQTCPFXCNWGQHVJGEQR[TKIJVGFYQTM

                #PFRQVGPVKCNOCTMGV[QW NNUGGKPVJGLWT[

     KPUVTWEVKQPUKUFGHKPGFVQOGCPCVTCFKVKQPCNTGCUQPCDNG

     QTNKMGN[VQDGFGXGNQRGFOCTMGV

                #PFTGCFVJGLWT[KPUVTWEVKQPDGECWUGKVVGNNU[QW

     VJKUKUVJGUKPINGOQUVKORQTVCPVHCEVQTCPF[QWECP

     WPFGTUVCPFYJ[VJCVKU

                6JCVKHUQOGDQF[KUOCMKPICWUGVJCV UIQKPIVQ

     JWTVCEQR[TKIJVWUGTVJCV URTQDCDN[UQOGVJKPIVJCV UNGUU

     HCKTVJCPUQOGDQF[YJQ UFQKPIUQOGDQF[VJCVKUP VIQKPIVQ

     JWTVQTOC[DGKUIQKPIVQJGNRVJCVRGTUQP

                5QNGV UVCNMCDQWVVJKUHCEVQT#PFVJGRTKOCT[

     YKVPGUUYJQVGUVKHKGFCDQWVVJGGHHGEVQHVJGCNNGIGF

     KPHTKPIGOGPVUQPVJGXCNWGCPFVJGOCTMGVQHVJG/KNGU&CXKU

     VCVVQQYCU/T5GFNKMJKOUGNH

                5QDGHQTGYGIQQXGTYJCVVJGGXKFGPEGUJQYGF

     NGV UVCNMCDQWV/T5GFNKM UETGFKDKNKV[;QWUCY

     /T5GFNKMVGUVKH[;QWUCYCNQVQHKV+VYCUCDQWVHQWT

     CPFCJCNHJQWTUQHKV

              &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 48 of 78 Page
                                  ID #:5389

                                                                        


     HQTVJGUJQRCUUKUVCPVYJQUGVWRVJGVCDNGCPFENGCPGFWR

                5Q5GFNKMUC[U1MC[-CVYCUP VRCKFCPF*KIJ

     8QNVCIGYCUP VRCKFDWVVJGHCEV[QWTCUUKUVCPVIQVCVKR

     YJKEJKUEWUVQOCT[KPVJGKPFWUVT[VJCVVWTPUVJKUKPVQ

     UQOGVJKPIEQOOGTEKCN

                +OGCPVCNMCDQWVPQIQQFFGGFIQGUWPRWPKUJGF

                6JGUWIIGUVKQPDGECWUG-CVFKFP VYCPVJGTUJQR

     CUUKUVCPVUVQNQUGQWVQPVKRUVJCVCTGEWUVQOCT[KPVJG

     KPFWUVT[VJCVVJKUOCMGUVJKUCEQOOGTEKCNFGCNKU

     TKFKEWNQWU

                5QYJCVFQGUVJCVOGCP!

                +H[QWTGOGODGTVJGHCKTWUG(CEVQTKUCP

     CPCN[UKUYJGTG[QWNQQMCVYJGVJGTKV UVTCPUHQTOCVKXGCPF

     [QWNQQMCVYJGVJGTKV UEQOOGTEKCN6JCV UYJCVVJG

     KPUVTWEVKQPYKNNVGNN[QW

                9GCITGGVJCVKV UCNTGCF[DGGPFGEKFGFVJCVVJG

     VCVVQQKUPQVVTCPUHQTOCVKXG$WVKPVJKUECUGOQTGVJCP

     CP[VJKPIGNUGKPVJKUECUGVJGVCVVQQKVUGNHYCUPQVC

     EQOOGTEKCNVTCPUCEVKQP+VYCUPQVEQOOGTEKCNKPCP[YC[

     CPFUQVJCVHCEVQTYGKIJUKPHCXQTQHHCKTWUG

                (CEVQTYGCNTGCF[VQNF[QWYGKIJUCICKPUVHCKT

     WUG

                (CEVQTKUVJGCOQWPVQHVJGVCVVQQUQTT[

     VJGCOQWPVQHVJGRJQVQVJCVYCUWUGF

                6JGTG UCNQVQHVJGRJQVQVJCVYCU6JGTG UC

              &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 49 of 78 Page
                                  ID #:5390

                                                                        


     NQVQHVJGRJQVQVJCV[QWYKNNUGGJGTG6JGTG UNQVVJCV

     YCUPQV+ OLWUVIQKPIVQUC[KV UPGWVTCN

                 #PFVJGP(CEVQTYGLWUVFKUEWUUGF+VYGKIJU

     JGCXKN[KPHCXQTCPFKVKUVJGUKPINGOQUVKORQTVCPVHCEVQT

                 5QHQTVJGVCVVQQGXKFGPEGUJQYGFVJGVCVVQQKUC

     HCKTWUG

                 0QYNGV UVCNMCDQWVVJGNKPGFTCYKPI1MC[6JG

     NKPGFTCYKPIEQOOGTEKCNKV[CICKPVJGTGYCUPQRTQFWEVUQNF

     YKVJVJGNKPGFTCYKPI5JGFKFP VIGVCP[RC[OGPVHQTKV

     #PFVJKUQPGFQGUJCXGCEQORNGVGN[FKHHGTGPVRWTRQUG

                 /KNGU&CXKU RJQVQKUCRJQVQVJCV/T5GFNKM

     WUGU+VEGNGDTCVGU/KNGU&CXKU+V UWUGFCUUQOGVJKPI

     VJCVJGUGNNUJKURTKPVU*GUGNNUJKURQUVGTU

                 6JGNKPGFTCYKPIKUCVQQN+V UCVQQNVJCV U

     WUGFVQUK\GCPFRNCEGVCVVQQU+VKUCEQORNGVGN[

     FKHHGTGPVRWTRQUG5QVJCVYGKIJU(CEVQT

     VTCPUHQTOCVKXG[GU0QPEQOOGTEKCN[GU9GKIJUJGCXKN[KP

     HCXQT

                 (CEVQTYGKIJUCICKPUV

                 *QYOWEJQHVJGRJQVQITCRJYCUWUGF!6JCV U

     (CEVQT9GNNVJGTGCNKV[KUXGT[NKVVNGQHVJG

     RJQVQITCRJYCUWUGFKPVJKU6JCVHCEVQTYGKIJUKPHCXQT

                 #PF(CEVQTCUYGUCKFYGKIJUJGCXKN[KPHCXQT

     6JGNKPGFTCYKPIKUCHCKTWUG

                 6JGPYGJCXGVJGHQWTCPFCJCNHOKPWVG+PUVCITCO

              &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 50 of 78 Page
                                  ID #:5391

                                                                        


     UVQT[6JGTG UPQGXKFGPEGVJCVKVRTQOQVGFCP[VJKPI

     6JGTG UPQGXKFGPEGVJGTGYCUCFXGTVKUKPITGEGKXGF6JGTG

     YCUPQNKPMKPVJKURQUVVQVJGUCNGQHRTQFWEVUCPFKVJCU

     CEQORNGVGN[FKHHGTGPVRWTRQUG+VYCUCEQORKNCVKQPQH

     UVQTKGUQH-CVOCMKPIXKFGQU6JKUYCUCVKP[RCTVQHC

     OWEJNCTIGTVJKPI

                5Q(CEVQTPQVEQOOGTEKCNVTCPUHQTOCVKXG

     YGKIJUJGCXKN[KPHCXQT

                (CEVQTYGKIJUCICKPUV

                (CEVQTDGECWUGKVUJQYUVJGVCVVQQYG NNUC[

     KV UPGWVTCN

                #PF(CEVQTYG XGCNTGCF[FKUEWUUGFYGKIJU

     JGCXKN[KPHCXQT

                6JGPVJGTG UVJG-CVCVVJGNKIJVDQZRJQVQ

     #ICKPPQVEQOOGTEKCNPQVRTQOQVGFPQCFXGTVKUKPITGEGKXGF

     KPNKPMUVQUCNGU

                #PFD[VJGYC[VJGGXKFGPEGVJCV UDGUVVQUJQY

     YJCV UEQOOGTEKCNCPFPQVEQOOGTEKCNKUVJGRQUVVJCVVJG[

     MGGRQPUJQYKPI[QWQVJGTUQEKCNOGFKCRQUVU

                -CVEGTVCKPN[JCUQVJGTUQEKCNOGFKCRQUVUYJGTG

     UJGRTQOQVGUVJKPIU6JQUGCTGUQEKCNOGFKCRQUVUVJCVCTG

     EQOOGTEKCN#PFVJGPVJGTGCTGUQEKCNOGFKCRQUVUVJCV

     RTQOQVGPQVJKPI6JQUGCTGPQV

                6JKUCNUQJCUCEQORNGVGN[FKHHGTGPVRWTRQUG

     +V UUJQYKPIVJGRTQEGUUQHOCMKPIVCVVQQU

              &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 51 of 78 Page
                                  ID #:5392

                                                                        


                 (CEVQTYGKIJUJGCXKN[KPHCXQT

                 (CEVQTYGKIJUCICKPUV
                   (CEVQTYGKIJUCICKPUV

                 (CEVQTKUPGWVTCN

                 (CEVQTYGKIJUJGCXKN[KPHCXQT

                 +V UCHCKTWUG

                 6JGPVJGTG UVJGRQUVQH-CVYQTMKPIQPVJG

     VCVVQQ(QTVJGUCOGTGCUQPUKV
       VCVVQQ (QTVJGUCOGTGCUQPUKV UPQVEQOOGTEKCNCPF

     CICKPVJGRWTRQUGQHVJKUKUPQVVQUJQY/KNGU&CXKUDWVVQ

     UJQY-CV URTQEGUUQHOCMKPIVCVVQQU

                 9GKIJUJGCXKN[KPHCXQT
                   9GKIJUJGCXKN[KPHCXQT

                 (CEVQTCICKPUV
                   (CEVQTCICKPUV

                 (CEVQTYGKIJUCICKPUVDGECWUGVJG[WUGFVJG

     RJQVQITCRJKPVJGDCEM
       RJQVQITCRJKPVJGDCEM

                 $WV(CEVQTYGKIJUJGCXKN[KPHCXQT
                   $WV(CEVQTYGKIJUJGCXKN[KPHCXQT

                 +VKUCHCKTWUG

                 .CUVN[OGUU[RTQITGUUUJQV0QVEQOOGTEKCNHQT

     VJGUCOGTGCUQPU%QORNGVGN[FKHHGTGPVRWTRQUG5JQYUJGT

     RTQEGUUCPFYJCVCVCVVQQECPNQQMNKMGDGHQTGKV U

     HKPKUJGF

                 (CEVQTJGCXKN[KPHCXQT

                 (CEVQTCICKPUV
                   (CEVQTCICKPUV

                 (CEVQTJQYOWEJQHVJGRJQVQITCRJYCUWUGF!

     8GT[NKVVNG9GKIJUJGCXKN[KPHCXQT

                 (CEVQTJGCXKN[KPHCXQT

                 6JKUKUCHCKTWUG

              &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 52 of 78 Page
                                  ID #:5393

                                                                        


     %'46+(+%#6'
       
     

     +2#6%70'1%54JGTGD[EGTVKH[VJCV

     RWTUWCPVVQ5GEVKQP6KVNG7PKVGF5VCVGU%QFGVJG

     HQTGIQKPIKUCVTWGCPFEQTTGEVVTCPUETKRVQHVJG

     UVGPQITCRJKECNN[TGRQTVGFRTQEGGFKPIUJGNFKPVJG

     CDQXGGPVKVNGFOCVVGTCPFVJCVVJGVTCPUETKRVRCIGHQTOCVKU

     KPEQPHQTOCPEGYKVJVJGTGIWNCVKQPUQHVJG,WFKEKCN

     %QPHGTGPEGQHVJG7PKVGF5VCVGU

     
       &CVG(GDTWCT[
     

     

     

     

     UAAAAAAAAAAAAAAAAAAAAAAAAAA

     2#6%70'11((+%+#.4'2146'4
       %5401
     

     

     

     

 

 

 

 

 

              &C[QH,WT[6TKCN,CPWCT[
                              
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 53 of 78 Page
                                  ID #:5394




                  EXHIBIT E
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 54 of 78 Page
                                  ID #:5395
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 55 of 78 Page
                                  ID #:5396
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 56 of 78 Page
                                  ID #:5397
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 57 of 78 Page
                                  ID #:5398
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 58 of 78 Page
                                  ID #:5399
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 59 of 78 Page
                                  ID #:5400
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 60 of 78 Page
                                  ID #:5401




                  EXHIBIT F
    Case 2:21-cv-01102-DSF-MRW                         Document 237-1    Filed 03/08/24      Page 61 of 78 Page
                                                            ID #:5402

Tim Henderson

From:                                 Patricia Kim <Patricia_Kim@cacd.uscourts.gov>
Sent:                                 Tuesday, January 23, 2024 1:06 PM
To:                                   rallen@glaserweil.com; Jason Linger; Allen Grodsky; Tim Henderson
Subject:                              Sedlik 21-1102
Attachments:                          Sedlik dsf draft Instructions 1.23.24_.docx


Counsel,

Please see attached.

Best,
                       PATRICIA KIM
                       R.E UiE f COURTROOM D!E PtrrY
                   U N ITED STATES DISTRICT COUR.T
                   CAlliFORNIA CU·ITRAL D ISTIUGT COURT
                   350 W 1.st Street
                    Los Allge s , CA 9 DD 12-3332
                   Off!De: (213) 89 -0583
                   Emsiil: Patricia_   @cacd .usoourts.gov
Case 2:21-cv-01102-DSF-MRW    Document 237-1   Filed 03/08/24   Page 62 of 78 Page
                                   ID #:5403


    1

    2

    3

    4

    5

    6

    7

    8                        UNITED STATES DISTRICT COURT
    9                    CENTRAL DISTRICT OF CALIFORNIA
   10

   11   JEFFREY B. SEDLIK,
   12                  Plaintiff,                2:21-cv-01102-DSF-MRW
   13   v.
                                                 JURY INSTRUCTIONS
   14   KATHERINE VON DRACHENBERG
        aka KAT VON D, et al.,
   15
                       Defendants.
   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28



                                          1
Case 2:21-cv-01102-DSF-MRW        Document 237-1      Filed 03/08/24   Page 63 of 78 Page
                                       ID #:5404


    1                                    INSTRUCTION NO.
    2

    3         The intrinsic test is a holistic comparison that focuses on whether the works are
    4   substantially similar in the total concept and feel of the works.
    5

    6   Ruling
    7

    8         The Court finds that three instructions are clearer. Defendants’ instructions are
    9   adopted with revisions to correspond to Rentmeester v. Nike, Inc., 883 F.3d 1111,
   10   1118–19 (9th Cir. 2018), overruled on other grounds by Skidmore as Tr. for Randy
   11   Craig Wolfe Tr. v. Led Zeppelin, 952 F.3d 1051 (9th Cir. 2020).
   12         Plaintiff’s objection that “Defendants’ instruction fails to consider the Ninth
   13   Circuit’s decisions in Norse and Range Road, which held that a substantial similarity
   14   analysis is irrelevant and unnecessary in a case such as this one involving direct
   15   copying of the copyrighted work[,]” continues to be wrong as a matter of law. The
   16   Ninth Circuit has been clear–the second prong of the infringement analysis contains
   17   two separate components: “copying” and “unlawful appropriation.” Skidmore, 952
   18   F.3d at 1064 (citing Rentmeester, 883 F.3d at 1117). Even “after proving that the
   19   defendant’s work is the product of copying rather than independent creation, the
   20   plaintiff must still show copying of protected expression that amounts to unlawful
   21   appropriation.” Rentmeester, 883 F.3d at 1124. “Proof of unlawful appropriation—
   22   that is, illicit copying—is necessary because copyright law does not forbid all
   23   copying.” Id. at 1117.
   24         “Unfortunately, . . . [the Ninth Circuit has] used the same term—'substantial
   25   similarity’—to describe both the degree of similarity relevant to proof of copying and
   26   the degree of similarity necessary to establish unlawful appropriation.” Id. Plaintiff
   27   continues to confuse these two concepts. While no substantial similarity analysis is
   28   needed to prove copying when it is admitted, it is still necessary to prove unlawful


                                                33
Case 2:21-cv-01102-DSF-MRW        Document 237-1     Filed 03/08/24   Page 64 of 78 Page
                                       ID #:5405


    1   appropriation.
    2         In both Norse and Range Road it was indisputable that copyrightable original
    3   expression was used. Norse concerned idiosyncratic phrases from unpublished
    4   letters, and Range Road concerned the public performance of copyrighted songs.
    5   Here, for several of the challenged uses (including the tattoo), Defendants argue that
    6   the elements copied from the Portrait (such as Miles Davis’s face) are not
    7   copyrightable. Therefore, the admitted copying does not foreclose the substantial
    8   similarity issue, because it may not be forbidden copying.
    9

   10

   11

   12

   13

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25

   26

   27

   28



                                               34
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 65 of 78 Page
                                  ID #:5406




                  EXHIBIT G
     Case 2:21-cv-01102-DSF-MRW                    Document 237-1            Filed 03/08/24         Page 66 of 78 Page
                                                        ID #:5407

Tim Henderson

From:                                Robert Allen <rallen@glaserweil.com>
Sent:                                Thursday, January 25, 2024 11:27 AM
To:                                  Patricia Kim; Jason Linger; Allen Grodsky; Tim Henderson
Subject:                             Re: Sedlik Draft Jury Instructions
Attachments:                         Sedlik nes draft Instructions 1.25.24 v2 MARKED UP.docx


        We have agreed to the redline changes, except for what is highlighted in Nos. 24, 26 and 34.

From: Patricia Kim <Patricia_Kim@cacd.uscourts.gov>
Date: Thursday, January 25, 2024 at 10:00 AM
To: Jason Linger <jlinger@glaserweil.com>, Robert Allen <rallen@glaserweil.com>,
allen@thegolawfirm.com <allen@thegolawfirm.com>, tim@thegolawfirm.com
<tim@thegolawfirm.com>
Subject: FW: Sedlik




This email has been scanned for viruses and malware, and may have been automatically archived by Mimecast, a leader in email
security and cyber resilience. Mimecast integrates email defenses with brand protection, security awareness training, web security,
compliance and other essential capabilities. Mimecast helps protect large and small organizations from malicious activity, human
error and technology failure; and to lead the movement toward building a more resilient world. To find out more, visit our website.
Case 2:21-cv-01102-DSF-MRW            Document 237-1     Filed 03/08/24   Page 67 of 78 Page
                                           ID #:5408




1

2

3

4

5

6

7

8                      UNITED STATES DISTRICT COURT
9                    CENTRAL DISTRICT OF CALIFORNIA
10

11   JEFFREY B. SEDLIK,
12                 Plaintiff,           2:21-cv-01102-DSF-MRW
13   v.
                                        JURY INSTRUCTIONS
14   KATHERINE VON DRACHENBERG
     aka KAT VON D, et al.,
15
                   Defendants.
16

17

18

19

20

21

22

23

24

25

26

27

28



                                  1
Case 2:21-cv-01102-DSF-MRW                         Document 237-1             Filed 03/08/24    Page 68 of 78 Page
                                                        ID #:5409




1

2

3                                   INSTRUCTION NO. 24
4

5          The first fair use factor concerns the purpose and character of the accused use.
6    It considers whether the use of a copyrighted work has a further purpose or different
7    character, which is a matter of degree, and the degree of difference must be balanced
8    against the commercial nature of the use. other considerations like commercialism.
9          If an original work and a secondary use share the same or highly similar
10   purposes, and the secondary use is of a commercial nature, the first factor is likely to
                                                                                                Formatted: Font: Bold
11   weigh against fair use.
12         The fair use analysis, and the first factor in particular, requires an analysis of
13   each specific use of a copyrighted work that is alleged to be an infringement. The
14   same copying may be fair when used for one purpose but not another.
15         A work that has a different purpose is said to be “transformative.” But to be
16   transformative, the secondary work must have a purpose that goes beyond that
                                                                                                Formatted: Highlight
17   required to qualify as a derivative work and that has a justification for conjuring up
18   the original work to shed light on the work itself, not just the subject of the work. .
19   For example, criticism, comment, news reporting, teaching (including multiple copies
20   for classroom use), scholarship, and research are all different purposes. The crux of
21   the profit/nonprofit distinction is not whether the sole motive of the use is monetary
22   gain but whether the user stands to gain a benefit or advantage from exploitation of
23   the copyrighted material without paying the customary price.
24         The court has already determined that the tattoo is not transformative, meaning
25   that it does not imbue the copyrighted work with a new purpose beyond recasting the
26   copyrighted work in a new visual medium, like turning a painting into a sculpture.
27   You must decide whether the tattoo is of a commercial nature. If you find that it is,
28   the first factor should weigh against fair use.


                                              36
Case 2:21-cv-01102-DSF-MRW                        Document 237-1            Filed 03/08/24   Page 69 of 78 Page
                                                       ID #:5410




1          For each social media post, you must determine whether the post has a further
2    purpose or different character than the copyrighted work. You must then determine
3    whether each social media post is of a commercial nature. Then you must balance the
4    degree of difference against the commercial nature, if any, of the post.
5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                             37
Case 2:21-cv-01102-DSF-MRW                         Document 237-1              Filed 03/08/24   Page 70 of 78 Page
                                                        ID #:5411




1                                    INSTRUCTION NO. 25
2

3          The second fair use factor is the nature of the copyrighted work. Copyrighted
4    works that are creative in nature are more protected. It is agreed that the Miles Davis
5    Photo is creative in nature, and therefore Thus, if you find that the original work was
6    creative in nature, this factor is less more likely to favor weigh against fair use.
7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28



                                              38
Case 2:21-cv-01102-DSF-MRW                         Document 237-1             Filed 03/08/24      Page 71 of 78 Page
                                                        ID #:5412




1                                   INSTRUCTION NO. 26
2

3          The third fair use factor is the amount and substantiality of the portion used in
4    relationship to the copyrighted work as a whole. This factor looks to the amount of
5    the original work used and the importance of the portion copied.
6          When an accused work copies little of the original work, this factor weighs in
7    favor of fair use. When an accused work copies most of the original work, then this
8    factor more likely weighs against fair use. rIIf the secondary user copies only as muchl
                                                                                              (

     ~
9    as is necessary for his or her intended use, then this factor will not weigh against fair
10   use. This factor weighs against fair use if the infringer publishes “the heart” of ani
11   “individual copyright picture” without justification.I
           IThe court has already determined that the third factor weighs against fair useI

     1-
12

13   with respect to each of the claimed infringements. It is up to you to weigh how much    7
14
                                                                                  J
     the third factor weighs against fair use, both as an individual factor and when
15   weighing all of the factors together.
16

17

18

19

20

21

22

23

24

25

26

27

28



                                              39
Case 2:21-cv-01102-DSF-MRW                          Document 237-1            Filed 03/08/24      Page 72 of 78 Page
                                                         ID #:5413




1                                   INSTRUCTION NO. 34
2

3          The plaintiff is barred from recovering damages for infringing acts that
4    occurred more than three years before he filed his lawsuit. I will refer to this
                                                                                                  Formatted: Highlight
5    limitation as the “three-year bar.” An infringing act occurs each time a work is
6    reproduced, publicly displayed, used to prepare a derivative work or distributed.
7          There is an exception to the three-year bar. The exception is this: if, prior to the
8    critical date of three years before filing the lawsuit, the plaintiff was unaware of the
9    infringement, and his lack of knowledge was reasonable under the circumstances,
10   then the three-year bar does not apply.
11         Plaintiff filed this lawsuit on February 7, 2021. Three years before he filed the
12   lawsuit is February 7, 2018.
13         It is the defendants’ burden to prove by a preponderance of the evidence that
14   the plaintiff knew or reasonably should have known about an infringement before
15   February 7, 2018.
16         If you find that the plaintiff discovered or should have discovered any of the
17   alleged infringements before February 7, 2018, then the three-year bar applies as to
18   that infringement. You may award damages only as to those alleged infringements
19   that you determine the plaintiff discovered on or after February 7, 2018.
20

21

22

23

24

25

26

27

28



                                               47
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 73 of 78 Page
                                  ID #:5414




                  EXHIBIT H
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 74 of 78 Page
                                  ID #:5415

                                                                              1

      1                       UNITED STATES DISTRICT COURT
                    CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
      2             HONORABLE DALE S. FISCHER, U.S. DISTRICT JUDGE

      3

      4   JEFFREY B. SEDLIK,

      5                        Plaintiff,

      6     v.                                     Case No.
                                                   2:21-cv-01102-DSF-MRW
      7   KATHERINE VON DRACHENBERG, et
          al.,
      8
                             Defendant.
      9   _____________________________

     10

     11

     12
                          REPORTER'S TRANSCRIPT OF PROCEEDINGS
     13                         FINAL PRETRIAL CONFERENCE

     14                         Monday, November 14, 2022
                                        3:10 P.M.
     15
                                 LOS ANGELES, CALIFORNIA
     16

     17

     18

     19

     20

     21

     22
                 ______________________________________________________
     23
                                JUDY K. MOORE, CRR, RMR
     24                      FEDERAL OFFICIAL COURT REPORTER
                               350 WEST 1ST STREET, #4455
     25                       LOS ANGELES, CALIFORNIA 90012
                                       213.894.3539
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 75 of 78 Page
                                  ID #:5416

                                                                              2

      1                                APPEARANCES

      2   FOR THE PLAINTIFF:
          MR. JOEL B. ROTHMAN
      3   Sriplaw
          8730 Wilshire Boulevard, Suite 350
      4   Beverly Hills, California 90211

      5   FOR THE DEFENDANT:
          MR. ALLEN B. GRODSKY
      6   Grodsky Olecki & Puritsky, L.L.P.
          1111 Santa Monica Boulevard, Suite 1070
      7   Los Angeles, California 90025

      8

      9

     10

     11

     12

     13

     14

     15

     16

     17

     18

     19

     20

     21

     22

     23

     24

     25
Case 2:21-cv-01102-DSF-MRW    Document 237-1    Filed 03/08/24   Page 76 of 78 Page
                                   ID #:5417

                                                                                12

      1   Supreme Court that is going to affect this case.             And whether

      2   we should put it off or not put it off, I'll leave that to the

      3   other side and we can talk about it, but it is certainly clear

      4   that the Supreme Court is going to do something and it's going

      5   to -- something to clarify the fair use standard, and that may

      6   impact this case.

      7              THE COURT:     We can only hope.        I guess we -- yes,

      8   you can hope for different results, but we hope that at least

      9   they resolve something to help us down here at the lower

     10   levels.

     11              Counsel, your thoughts on that?

     12              MR. ROTHMAN:     Yes.     Thank you, your Honor.       Joel

     13   Rothman.   So, your Honor, the case before the Supreme Court is

     14   quite different than this case, and I think the facts are

     15   really important to understand.        So in that case what we had

     16   was we had a photograph of Prince, and then what Mr. Warhol's

     17   state, what they did with it, was what I think could be termed

     18   interpretations of it, of that photo, varying degrees of

     19   difference from the original photograph.

     20              And what we have here is Mr. Farmer going in to Ms.

     21   Von Drachenberg and saying, I want that on my arm and Ms. Von

     22   Drachenberg complying with that and putting that on his arm,

     23   which is not the same as, you know, I want an interpretation of

     24   that image in some fashion.

     25              So I don't think that, regardless of how the Supreme
Case 2:21-cv-01102-DSF-MRW   Document 237-1   Filed 03/08/24   Page 77 of 78 Page
                                  ID #:5418

                                                                              13

      1   Court determines the transformative use standard or any of the

      2   other different elements of fair use, I don't think that that's

      3   going to provide a jury, which still under the last time the

      4   Supreme Court addressed this issue, which is Oracle v. Google,

      5   the jury is entitled to make the determination of fair use.               So

      6   it would seem to us that delay would just be delay for no

      7   reason because your Honor would be in a position to instruct

      8   the jury on existing understanding of fair use, and under these

      9   facts, it would be their determination.

     10              THE COURT:    Well, isn't -- I mean, there are things

     11   that I said were not an issue here, which included Mr. Farmer's

     12   point of view.

     13              MR. ROTHMAN:    Correct.

     14              THE COURT:    I think Ms. Von Drachenberg had

     15   indicated in some way that she was doing something different

     16   with the photograph.    Whether that was what Mr. Farmer wanted

     17   or not probably isn't relevant.       So that sounds more like --

     18   and I'd have to go back and read the papers again to see

     19   exactly what she -- what she said for the purpose of the

     20   summary judgment motion or whatever else I was doing, but she

     21   was pointing out that -- I think the different -- I don't know

     22   what the word would be -- the different feeling someone would

     23   get when looking at the Miles Davis tattoo, not just because it

     24   was a tattoo instead of a photograph, but because of the

     25   different things she had done, whether related to the
Case 2:21-cv-01102-DSF-MRW    Document 237-1   Filed 03/08/24   Page 78 of 78 Page
                                   ID #:5419

                                                                               0

      1                      CERTIFICATE OF OFFICIAL REPORTER

      2

      3   COUNTY OF LOS ANGELES       )
                                      )
      4   STATE OF CALIFORNIA         )

      5

      6            I, JUDY K. MOORE, FEDERAL OFFICIAL REALTIME COURT

      7   REPORTER, IN AND FOR THE UNITED STATES DISTRICT COURT FOR THE

      8   CENTRAL DISTRICT OF CALIFORNIA, DO HEREBY CERTIFY THAT PURSUANT

      9   TO SECTION 753, TITLE 28, UNITED STATES CODE THAT THE FOREGOING

     10   IS A TRUE AND CORRECT TRANSCRIPT OF THE STENOGRAPHICALLY

     11   REPORTED PROCEEDINGS HELD IN THE ABOVE-ENTITLED MATTER AND THAT

     12   THE TRANSCRIPT PAGE FORMAT IS IN CONFORMANCE WITH THE

     13   REGULATIONS OF THE JUDICIAL CONFERENCE OF THE UNITED STATES.

     14

     15

     16

     17                        DATED THIS 20TH DAY OF NOVEMBER, 2022.

     18

     19
                                       /s/Judy K. Moore
     20                        ___________________________________
                                    JUDY K. MOORE, CRR, RMR
     21                        FEDERAL OFFICIAL COURT REPORTER

     22

     23

     24

     25
